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 1                                                                   The Honorable James L. Robart
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 8                                 UNITED STATES DISTRICT COURT
 9                              WESTERN DISTRICT OF WASHINGTON
10                                           SEATTLE DIVISION
11    KATHERINE MOUSSOURIS, HOLLY
      MUENCHOW, and DANA PIERMARINI,
12    on behalf of themselves and a class of those     Case No. 2:15-cv-01483-JLR
      similarly situated,
13                                                     MICROSOFT’S OPPOSITION TO
                         Plaintiffs,                   PLAINTIFFS’ MOTION FOR CLASS
14                                                     CERTIFICATION
             v.
15                                                     NOTE ON MOTION CALENDAR:
      MICROSOFT CORPORATION,                           FEBRUARY 9, 2018
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                         Defendant.                    ORAL ARGUMENT REQUESTED
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                                                       PUBLIC
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     MICROSOFT’S OPPOSITION TO PLAINTIFFS’                      ORRICK, HERRINGTON & SUTCLIFFE LLP
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     CASE NO. 2:15-CV-01483-JLR                                      Seattle, Washington 98104-7097
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 1                                            INTRODUCTION
 2           In over twenty years of committed diversity and inclusion efforts, Microsoft has learned
 3   that diversity is not a finite goal, but a process that requires constant self-assessment and
 4   re-commitment. Microsoft is keenly aware of the gender imbalance in the tech industry and is
 5   deeply invested in improving it. To that end, Microsoft has allocated more than $55 million per
 6   year to innovative diversity and inclusion programs, implemented mandatory company-wide
 7   unconscious bias training, and created a robust internal investigation process to address
 8   employee concerns. These efforts exceed legal requirements and reflect Microsoft’s
 9   commitment to maintaining a diverse and inclusive workplace. One can debate how best to
10   address this important societal issue—but the class allegations here are not the right vehicle for
11   that debate.
12           Plaintiffs’ claims are simply not the stuff of which class actions are made. They seek to
13   certify a class of extraordinary breadth: over 8,600 women scattered across offices in dozens of
14   subdivisions throughout Microsoft’s multiple business units. Although they claim Microsoft
15   discriminated against this entire class, they do not challenge an identifiable discriminatory
16   practice. Abandoning the “stack ranking” theory they put forward to salvage their amended
17   complaint, Plaintiffs now concede there is no disparity in performance ratings between men and
18   women. Nor do they challenge the animus of a small group of leaders. Instead, they attack
19   “calibration” and “people discussions,” two different employee review processes involving input
20   from a wide range of people, including peers, supervisors, and higher-level managers. These
21   reviewers exercise discretion and apply their individual judgments to Microsoft’s general
22   performance evaluation framework in making individual pay and promotion decisions. And
23   although Microsoft set non-discriminatory criteria for these otherwise discretionary review
24   processes, Plaintiffs do not identify a common mode of exercising discretion (as required to
25   certify a class); rather, Plaintiffs seek certification for precisely the opposite reason: “lack of
26   standardization.” Mot. 6.
27

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 1           The Supreme Court in Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011), however,
 2   made clear that a class cannot be certified where its proposed members have been subjected to
 3   varied conduct resulting in dissimilar outcomes based on the decisions of a “kaleidoscope of
 4   supervisors (male and female).” Id. 359. As in Dukes, this class cannot satisfy Rule 23’s
 5   stringent requirements, for the following reasons:
 6           Commonality: Disparate Impact. To certify a disparate impact class, Plaintiffs must
 7   show there is “a common answer to the crucial question why was I disfavored.” Dukes, 564 U.S.
 8   at 352. Here, the answer to the dispositive question will vary by employee, depending on the
 9   managers and others who assessed her. “[D]emonstrating the invalidity of one manager’s use of
10   discretion will do nothing to demonstrate the invalidity of another’s.” Id. 355-56. Neither
11   statistics nor social science evidence solves that problem. Plaintiffs’ flawed statistical model—
12   even if credited—exposes the sort of isolated disparities the Ninth Circuit has found inadequate
13   to certify a class. Further, pointing to numbers showing gender disparities and attributing them
14   to calibration or people discussions does not show a common answer to the causation question.
15   As this Court recognized, Plaintiffs must show a nexus between the two, i.e., a common
16   explanation for how the challenged processes cause thousands of managers consistently to arrive
17   at allegedly biased pay and promotion decisions. Plaintiffs cannot show such a classwide nexus.
18           Commonality: Disparate Treatment. Certification of a disparate treatment claim
19   requires even more. Plaintiffs must show intentional discrimination—specifically, they must
20   provide “significant proof” that corporate leaders “operated under a general policy of
21   discrimination.” Id. 353. Plaintiffs’ evidence falls far short. In any organization of over
22   115,000 individuals, some employees inevitably fail to live up to standards. Those failures are
23   unacceptable, which is why Microsoft has a team of full-time investigators to consider
24   allegations of policy violations and mandates diversity training for all employees. Plaintiffs’
25   hearsay anecdotes (most from non-class members), even if true, do not qualify as “significant
26   proof” of “a general policy of discrimination.” Id.
27           Typicality and Adequacy. Katie Moussouris’s and Holly Muenchow’s individual claims

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 1   will turn on their unique circumstances, as there are non-discriminatory explanations for their
 2   pay and promotion experiences. Their claims and the absent class members’ claims will not rise
 3   or fall together—the hallmark of typicality. Moreover, Moussouris actively participated as a
 4   manager in the reviews Plaintiffs now attack, as did thousands of other class members who also
 5   served as managers. A class cannot consist of both supervisors who participated in an allegedly
 6   discriminatory process and those they evaluated, as that poses an irreconcilable intra-class
 7   conflict and defeats adequacy. See Donaldson v. Microsoft Corp., 205 F.R.D. 558, 568 (W.D.
 8   Wash. 2001).
 9           Predominance and Superiority. To certify a Rule 23(b)(3) damages class, Plaintiffs
10   must prove that common issues will predominate at trial—a more demanding standard than
11   commonality. Here, individual issues would dominate, requiring employee-by-employee
12   decisions on liability (was the class member subjected to discrimination?), causation (did the
13   conduct or other, business-related factor(s) affect her pay or promotions?), and damages (did she
14   lose money due to the alleged discrimination and, if so, how much?). Plaintiffs’ trial plan admits
15   the need for thousands of mini-trials to resolve these issues. Mot. 43. Because they cannot be
16   “resolve[d] ... in one stroke,” Dukes, 564 U.S. at 350, their presence defeats
17   predominance. Given these complexities and varying, individual facts, a class action is not a
18   superior method of proceeding, especially since allegedly aggrieved employees have individual
19   remedies under Title VII, including the right to recover attorneys’ fees.
20           Injunctive Relief. A class seeking injunctive relief under Rule 23(b)(2) must be
21   cohesive, i.e., it must seek a single, indivisible remedy addressing a uniform practice. But
22   Plaintiffs’ claims turn on the allegation that the proposed class was not subjected to any one
23   practice; instead, Plaintiffs condemn managers’ pay and promotion decisions on the theory that
24   they varied significantly from team to team and manager to manager. For this reason, Plaintiffs
25   ask the Court to certify a class to pursue an injunction at a meaningless level of generality:
26   preventing any “meetings” where “managers compare employees within a peer group.” Mot. 5.
27   Courts properly deny class certification in these circumstances. This Court should do the same.

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 1                                                   BACKGROUND
 2            Microsoft employs over 115,000 employees worldwide. Domestically, employees are
 3   spread across dozens of offices and multiple business units—each with subdivisions.
 4   https://news.microsoft.com/facts-about-microsoft/. Plaintiffs seek to certify a class of women in
 5   Stock Levels 59-67 in the Engineering and/or I/T Operations Professions since September 16,
 6   2012—a class that sweeps across Microsoft’s U.S. locations, business units, and subdivisions.1
 7   Microsoft’s Discretionary Pay and Promotions Processes Reflect Its Evolving Corporate
     Structure And Varied Workforce
 8
              Microsoft’s discretionary pay and promotion processes reflect the diverse technological
 9
     spheres in which it operates. As one of the world’s largest technology companies, Microsoft
10
     produces hundreds of products and services, including those for Windows, Office (O365,
11
     PowerPoint), Email/Communications (Outlook, Skype, Yammer), Cloud & Online Services
12
     (Azure, OneDrive), Hardware & Multimedia (Surface, Xbox, HoloLens), and Internet (Internet
13
     Explorer, Bing). See https://support.microsoft.com/en-us/allproducts. To bring these
14
     technologies to market, Microsoft organizes itself into business units, which are subdivided into
15
     groups, divisions, and distinct, autonomous teams. Whittinghill Dec. ¶21, Ex. B. These
16
     groupings are in a constant state of flux, as the company develops new products and services.2
17
              Each business unit employs an array of personnel, whose Standard Titles range from data
18
     scientists and software engineers to game designers and interface developers to artists and
19
     program managers. Id. But positions with the same Standard Title often involve widely varied
20
     work—just as the position “doctor” covers many different practice areas and specializations.3
21
     1
       As Plaintiffs note, Microsoft’s job taxonomy classifies employees first into Professions, then into Disciplines, and
22   then into Standard Titles. Mot. 3-4. Plaintiffs have defined the proposed class according to Profession.
     2
23     For example, in 2013, Microsoft had six primary business units, including Server & Tools. MSFT65921,
     Whittinghill Dec. ¶24. Server & Tools included four groups. MSFT65921. That group had 12 teams, which housed
24   numerous subteams. Plaintiff Muenchow was a developer on one of those 12 teams, “Test – VS Platform Tools.”
     MSFT22037. By 2016, however, Microsoft had ten business units, which no longer included Server & Tools.
25   MSFT10976; Whittinghill Dec. ¶25; see id. Ex. B. At that time, Muenchow worked in the Customer Engagement
     subteam of the Visual Studio and .NET team within the Cloud and Enterprise Engineering group. MSFT3334.
     3
26     Two job postings for a Software Engineer II position illustrate the variations within Standard Titles. The Azure
     Internet of Things team seeks engineers with “[e]xperience developing applications hosted on top of Azure, AWS or
27   other similar Cloud Platforms” and values “[s]olid knowledge of data structures and algorithms.” Whittinghill Dec.


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 1   Plaintiffs’ proposed class covers over 8,300 unique positions. Id. ¶33, Ex. B.
 2           Given the specialized nature of its employees’ work, Microsoft recognizes that individual
 3   managers are best suited to assess employees’ performance based on their respective team’s
 4   unique objectives. Id. ¶42. Thus, while adopting systems and providing training for assessing
 5   employee performance in a non-discriminatory manner, Microsoft necessarily delegates
 6   discretion to thousands of managers to evaluate and make individual pay and promotion
 7   decisions. Id. As detailed below, this policy of delegated discretion has taken two different
 8   forms during the class period. For both forms, Plaintiffs allege the systems permitted managers
 9   to exercise their discretion in a way that violates company policies. That allegedly unbridled
10   discretion forms the core of their case.
11   Pay And Promotion Decisions From 2011 To 2013
12           From 2011 to 2013, Microsoft made pay decisions using a performance evaluation
13   approach focused on employee contributions relative to peers. The annual cycle had three
14   phases: a commitment planning phase to set objectives for the year; a mid-year check-in on
15   development plans and commitments; and an assessment phase at the end of the fiscal year.
16   MSFT2267.4 Plaintiffs allege no shortcomings in the first two phases. Instead, they challenge
17   one aspect of the third phase: “calibration meetings” in which peer employee performance was
18   compared and ratings addressed. Mot. 5.
19           Before calibration meetings, employees summarized their own performance and
20   identified colleagues to provide input. MSFT1595, 2267. Their direct managers would then add
21   feedback from other potential reviewers familiar with their work, review input, recommend a
22   performance rating, and determine what to include in the review. MSFT1595. Managers’
23   recommended ratings focused on: results over the year (the “what”), how the employee delivered
24

25
     ¶40. Microsoft’s Xbox team is also looking for a Software Engineer II—but although the position has the same
26   label, that candidate must have “5+ years in professional development experience (C++, C#), XML, JSON,
     multithreading, and OOP,” as well as a “[e]xcellent design and coding skills.” Id. ¶41; see also Jantz Dec. ¶¶5-10.
     4
27     All documents bates stamped as “MSFT_MOUSSOURIS” are referenced in this brief through the use of “MSFT”
     followed by the page number. All bates-stamped documents and transcripts are attached to the Parris Declaration.

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 1   those results (the “how”), and the employee’s proven capability over time. MSFT881, 2278;
 2   Coleman Tr. 100:20-101:3; Helf Dec. ¶4; Mao Dec. ¶5.
 3           Microsoft provided general guidance regarding evaluation of the “what” and “how” of
 4   employee performance. MSFT2278-79. Beyond that, managers had discretion to evaluate
 5   performance based on the factors relevant to their team’s goals. Helf Dec. ¶¶8-9 (managers have
 6   significant discretion to assess performance); Shepherd Dec. ¶5 (managerial discretion to
 7   implement HR processes); Wilson Dec. ¶¶9, 11-13. This sometimes resulted in teams adopting
 8   their own unique approaches. Helf Dec. ¶¶16-19. Managers ultimately recommended a
 9   performance rating for each employee, ranging from a high of “1” to a low of “5.” MSFT2279.
10   Ratings followed an approximate distribution—set by budget and varying by business unit. Id.
11           Once the manager completed the initial evaluation and rating recommendation, an
12   employee’s assessment moved into the only phase Plaintiffs challenge: “Calibration Meetings,”
13   i.e., the “process in which managers compare employees within peer groups.” Mot. 5. This so-
14   called “Calibration Process” is the one “specific employment practice” Plaintiffs claim causes a
15   disparate impact. Id. 1. Despite its centrality to their claim, Plaintiffs devote just one paragraph
16   to describing the process. Id. 5-6. Because the details matter, Microsoft elaborates.
17           Managers met during a “calibration meeting” to discuss the performance of employees
18   reporting to them (“direct reports”) who performed similar functions—at which time managers
19   could adjust recommended ratings based on a comparison of employees to larger groups.
20   MSFT2283-85. A recommended range of employees to be considered together was 50 to 100
21   individuals. MSFT2290. But, as Plaintiffs’ expert notes, there was a “lack of standardization” in
22   both “the types of information serving as inputs into compensation and promotion decisions” as
23   well as “the specific procedures for discussing and making compensation and promotion
24   decisions.” Mot. 6. Thus, rather than use a single uniform “Calibration Process,” each team
25   handled it differently. No two calibration meetings were the same. Helf Dec. ¶16; Coleman Tr.
26   22:3-18 (describing varied approaches); 23:24-24:4 (describing various documents used in
27

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 1   different meetings); 30:25-31:2, 31:16-21 (“great deal of flexibility” in calibration depending on
 2   team and individuals involved); DeCaprio Dec. ¶¶9-10.
 3           As Microsoft instructed HR leaders and managers, the assessment was not formulaic but
 4   required thoughtful individual judgment, taking into account the employee’s role. MSFT2278;
 5   see Wilson Dec. ¶21; DeCaprio Dec. ¶¶7-8. Managers were expected to review preliminary
 6   feedback and provide honest assessments of performance relative to peers. Helf Dec. ¶8. Some
 7   teams used paired comparisons to other employees in the peer group. MSFT1955. Others
 8   compared performance to an agreed benchmark. MSFT1955-56. Others ranked employees.
 9   MSFT1955. Microsoft did not dictate how to run a meeting or what records to generate.
10   Coleman Tr. 31:16-21; Ritchie Tr. I 162:11-164:5. Managers at various levels participated in the
11   meetings. Helf Dec. ¶20. Some were new to the process, others veterans. Id. The performance
12   rating—arrived at through the Calibration Process—determined an employee’s raise, bonus, and
13   stock award. Ritchie Tr. II 428:16-429:25.
14           During the meetings, a potential promotion could be discussed if an employee’s direct
15   manager recommended one. MSFT2280; Helf Dec. ¶28; but see Mao Dec. ¶9 (describing
16   group’s process for considering non-recommended promotions). Promotion discussions differed
17   from performance rating discussions. Whether a promotion was recommended and approved
18   turned on (1) employee readiness, (2) business need, and (3) available budget. MSFT2235.
19   Promotions at lower levels, such as 59 and 60, occurred more frequently. MSFT1984.
20   Promotions would “vary across levels… and professions,” as well as by year. Id. For instance,
21   in 2013, the budget supported about one in three employees being promoted in the Engineering
22   and Research professions. Id. Reasons for promotion decisions were not always memorialized
23   and were highly individualized. Saad Rpt. ¶¶161-65 & n.125, 188-92.
24           Pay and promotion decisions at the initial calibration meeting rolled up to another
25   meeting with higher level managers, and roll-ups could happen several times. Helf Dec. ¶21
26   (calibration meetings cascaded upwards); Wilson Dec. ¶24. But the process remained
27   decentralized. Each organization had an executive vice president as the formal “final approver”

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 1   for pay and promotion decisions. MSFT4283; Helf Dec. ¶¶27, 29. In practice, those people did
 2   not make individual decisions regarding the thousands of lower-level employees. Helf Dec. ¶27;
 3   Shepherd Dec. ¶¶12-13. Even subapprovers, those one level below “final approver,” generally
 4   focused on the budget for a particular group, not the merits of individual evaluation decisions.
 5   Helf Dec. ¶27 (leader focused on budget, not individual decisions made in earlier calibration
 6   meetings); Wilson Dec. ¶24. “[T]he Vice President … does not have specific, detailed
 7   conversations” about employees below Level 64; rather, the Vice President’s direct reports are
 8   authorized to “make the effective final decisions.” Shepherd Dec. ¶25. Thus, thousands of
 9   managers in different disciplines across Microsoft made pay and promotion decisions for the
10   proposed class. Direct managers—men and women—had the most influence as they
11   recommended ratings and explained performance at calibration meetings. Ku Dec. ¶9; DeCaprio
12   Dec. ¶16. Thousands of these managers are putative class members. Saad Rpt. ¶¶16-17.
13   Pay And Promotion Decisions From 2014 To The Present
14           In 2014, Microsoft fundamentally redesigned its pay and promotions approach to
15   prioritize collaboration and contributions to others’ and the company’s overall success over
16   individual evaluation vis-à-vis peers. MSFT4130; Underwood Tr. 85:11-24 (describing new
17   approach as “very different”). The process allowed for even greater managerial discretion.
18   Shepherd Dec. ¶18. To that end, Microsoft replaced its 1 to 5 rating system. Instead of
19   considering an employee “relative to other individuals in his or her organization,” managers
20   evaluate employees’ impact. Helf Dec. ¶31; see also Shepherd Dec. ¶18. Microsoft eliminated
21   calibration meetings and instead implemented “people discussions,” which occur at different
22   levels, in different ways, with different formats and levels of formality. Helf Dec. ¶¶31-32;
23   Jarvis Dec. ¶¶10-11, 13-14. Before a people discussion, managers engage in “Connects”—i.e.,
24   get-togethers throughout the year—with their direct reports to share feedback with each
25   employee on their impact. Shepherd Dec. ¶17; Mao Dec. ¶7.
26           The format and content of people discussions varies depending on managers’ familiarity
27   with their employees, goals for the discussion, and leadership style. Wilson Dec. ¶15; DeCaprio

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 1   Dec. ¶14. Sometimes leaders prefer holistic talent discussions and to discuss all employees;
 2   others are more data-oriented and segment employees by responsibility. Helf Dec. ¶42. In some
 3   cases, people discussions are a roundtable where the leader listens to and considers feedback
 4   from attendees (including male and female managers); in other cases, the leader drives the
 5   discussion and managers talk about the employee to the leader (not with each other). Id. ¶43.
 6           In addition to the freedom to structure people discussions, managers have discretion to
 7   develop their own frameworks for reward distribution. For example, one team imposed a “‘top
 8   rewards’ target that aim[ed] to have a certain percentage of rewards fall[] within the top two
 9   rewards pay points.” Id. ¶38. Another first identified performance attributes and distinguished
10   between low and high performers, reviewing team members accordingly. Watterson Dec. ¶14.
11           Individual managers also address promotions during people discussions. DeCaprio Dec.
12   ¶¶14-15; Calla Dec. ¶7. Though the general promotion criteria focus on performance, business
13   need, and budget availability, the promotion analysis is viewed through the lens of the
14   employee’s impact.5 MSFT2235. It generally takes longer to get promoted to higher levels as
15   employees acquire the necessary skills and experience to perform positions with greater scope
16   and responsibility. See, e.g., MSFT1984; Ritchie Tr. II, 476:4-477:2; Helf Dec. ¶30; Liuson
17   Dec. ¶14; Mao Dec. ¶10.
18   Microsoft’s Policies Prohibit Discrimination and Harassment
19           Microsoft has robust Equal Employment Opportunity (EEO) policies overlaying its
20   compensation and promotion processes. MSFT58110-11. Microsoft makes clear that “[g]lobal
21   diversity and inclusion is an integral and inherent part of our culture, fueling our business growth
22   while allowing us to attract, develop, and retain the best talent.” MSFT824522. Its commitment
23   to diversity allows Microsoft to be “more innovative in the products and services we develop, in
24   the way we solve problems, and in the way we serve the needs of an increasingly global and
25
     5
26     The software that facilitates people discussions prompts managers to provide a rationale for promotions. Helf Dec.
     ¶39. “Managers have complete discretion as to what to write in this box, and it ranges from very little to an
27   exhaustive list of everything about the individual being recommended for promotion.” Id.; Coleman Tr. 82:17-85:3
     (explaining possible entries). These justifications are highly individualized. See, e.g., Helf Dec. ¶39.

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 1   diverse customer and partner base.” Id. Under the EEO Policy, “[a]ll employees share in the
 2   responsibility for fulfilling Microsoft’s commitment to equal employment opportunity.”
 3   MSFT867. The policy, applicable to all employees, prohibits discrimination on the basis of sex
 4   (including pregnancy) or any other protected characteristic, as well as sexual harassment and
 5   retaliation. MSFT58110-11. Senior managers oversee EEO compliance by engaging in
 6   “behavior and treatment of employees’ consistent with … company policies,” “communicat[ing]
 7   the company’s policy to … subordinates,” “prevent[ing] and correct[ing] [policy] violations,”
 8   and “ensuring that positive, good faith efforts are being made to achieve” affirmative action
 9   goals and “fully implement [the company’s] commitment to EEO.” MSFT58111.
10           Microsoft also has an Employment Relations Investigation Team (“ERIT”) to investigate
11   EEO policy issues and provide training to HR. DeLanoy Tr. 31:2-8, 48:19-25. Each ERIT
12   investigator is a licensed attorney with years of investigation experience and training. Id. 30:17-
13   31:1; 102:20-103:7; 132:24-133:7; 175:4-25. Microsoft publicizes various ways to raise
14   concerns on its internal portals, providing for anonymous submission if preferred, and takes
15   action upon receiving concerns. Id. 57:6-59:14; 129:7-130:3; Young Rpt. ¶¶30-57.
16   Microsoft’s Diversity and Inclusion Initiatives
17           Microsoft invests heavily in programs to enhance diversity and inclusion (“D&I”). Its
18   annual budget is slated to increase to $55.4 million per year through 2020. MSFT835961;
19   Dhillon Dec. ¶6. These resources are devoted to furthering an inclusive culture, recruiting and
20   retaining diverse talent, and enhancing equal pay and advancement opportunities.6
21   Recognizing that this is a long-term problem it must work on continually, MSFT616198,
22   Microsoft frequently creates new initiatives to retain its diverse talent and recruit from
23   communities historically underrepresented in the tech industry. See, e.g., https://blogs.microsoft.
24   com/blog/2017/11/14/strengthening-culture-inclusion/.
25

26
     6
27     MSFT616197; 822318 (outlining diversity focuses); 835961 (annual spends for D&I); 822250 (aspirational vision
     for 2020); 822530 (outreach strategy for female technical employees).

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 1           Microsoft takes a multi-layered approach to diversity. Its 25-person Global D&I team
 2   works with leaders to develop plans tailored to each unique group of employees, and creates
 3   detailed strategies for executing on these plans. See, e.g., Dhillon Dec. ¶¶7, 16 (describing
 4   Engineering 5-Point Plan and self-assessment program for managers to track diversity acumen);
 5   MSFT306526. The company offers customized D&I training courses for all levels of
 6   employees, such as “Building an Inclusive Culture: Understanding Conscious and Unconscious
 7   Bias” (mandatory for all employees), “Managing Inclusion,” and “Cultural Dexterity.”
 8   MSFT642357. And Senior Managers are expected to spread knowledge of these resources,
 9   including as a means of “improv[ing] our female technical representation.” MSFT123433.
10   “Whether senior leaders have achieved diversity within their organizations impacts their overall
11   compensation in the form of bonuses.” Dhillon Dec. ¶7. Microsoft also has established a Tech
12   Executive Leadership Development Program for L65-70 leaders to increase executive-level
13   diversity. MSFT835962; MSFT123433 (“Senior Leaders … required to mentor technical female
14   talent” to “grow women to take on critical roles in the organization.”); see also MSFT822254
15   (instructing managers to “[e]nsure women…are not overlooked for key growth opportunities”).
16           Microsoft has taken steps to address underrepresentation in the industry at large,
17   including creating a “Women’s Pipeline” to promote the development of women in technical
18   roles at all levels. MSFT822325. That plan begins as early as kindergarten by “empowering
19   girls to consider CS/tech education” through “investment in teacher training and development,”
20   and initiatives such as Girls Who Code and DigiGirlz. Id.; Dhillon Dec. ¶18. DigiGirlz includes
21   Microsoft-sponsored free all-day events to “provide high school girls with a better understanding
22   of what a career in technology is all about” by interacting with Microsoft employees.
23   https://www.microsoft.com/en-us/diversity/programs/digigirlz/digigirlzday.aspx; MSFT822325.
24   Microsoft’s initiatives continue with internships, award competitions, and mentoring programs,
25   such as Women’s TechConnect. MSFT824523. The company’s $277 million D&I commitment
26   through 2020 will help support each of its “K-12 pipeline,” “Colleges and Universities” and
27

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 1   “Employees at Microsoft” programs, as well as internships that have increased the number of
 2   women hired into core technical jobs at Microsoft. MSFT835961, 835963.
 3   The Named Plaintiffs
 4           Katie Moussouris. Microsoft hired Moussouris in 2007 as a Security Program Manager
 5   in its Trustworthy Computing Group. Her role—providing security for Microsoft products and
 6   services—was unique; she is unaware of anyone who did similar work. Moussouris Tr. 276:17-
 7   24, 279:2-17. Microsoft promoted her in 2008, when she was seven months pregnant, and again
 8   in 2010. Id. 29:15-30:5. Microsoft also gave Moussouris salary increases and top “exceeded”
 9   performance ratings, including a “1” in 2011. Id. 29:4-11; 70:11-14; 71:3-13.
10           For all the accolades Moussouris received for her results (the “what”), she knew the
11   “how”—i.e., communication and collaboration skills—was just as important. Id. 26:6-27:4. But
12   she struggled in this area. Female employees she supervised were “unhappy” with her treatment
13   of them. Id. 147:18-151:3. And even though Moussouris eventually relinquished her managerial
14   duties, id. 247:12-249:6, her manager secured executive coaching for her—generally reserved for
15   more senior employees—hoping to position her for future promotions. Id. 51:19-54:1.
16           Because her results and “how” issues varied from year to year, Moussouris’s rating was
17   “3” in 2012 (met expectations) and “2” in 2013 (exceeded expectations). Id. 68:12-17.
18   Moussouris believes her initial performance rating in 2012 moved from a 2 to a 3 during the
19   calibration process because her manager, whom she cannot confirm was even present for the
20   final decision, told her he initially recommended a higher performance rating. Id. 93:8-94:9.
21   Despite her promotion, raises, and favorable ratings, Moussouris contends Microsoft judged her
22   performance more harshly than her male peers, and that every review she received—including
23   her maximum performance rating of “1”—was affected unfairly by her gender. Id. 259:6-7;
24   260:9-15. Yet, she was the highest paid employee in her cost center in 2012 and 2014, and (just
25   barely) the second highest in 2013. Saad Rpt. ¶¶41-42. That meant Moussouris was paid more
26   than not just men on her team, but also her male manager. Id.
27           Further, in her role as manager, Moussouris actively participated in the very Calibration

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 1   Process she now attacks by reviewing employees and the quality of their work. Moussouris Tr.
 2   103:16-23; 104:9-21; 119:7-18. Moussouris could point to only one allegedly “gendered”
 3   comment in the meetings in which she participated: a discussion about how her direct report
 4   should work on her collaboration skills (id. 129:16-131:9), which was an explicit criterion of the
 5   rating system and something Moussouris had coached her on in the past (id. 131:20-132:6). She
 6   conceded this was not an issue limited to women: Moussouris was aware men were critiqued for
 7   how they collaborated as well. Id. 140:18-23; 141:4-18.
 8            Holly Muenchow. Muenchow does not identify an issue with any adjustment made to
 9   her performance ratings or pay during calibration.7 Muenchow Tr. 108:14-22. While
10   Muenchow believes she should have been promoted faster, she could not identify when any
11   promotion should have occurred or any facts to suggest the failure to promote her was based on
12   gender, much less had any connection to calibration meetings. Id. 49:13-18; 59:16-61:25; 94:6-
13   18. Muenchow was promoted five times—two of them shortly after maternity leaves. Id. 42:3-
14   8; 44:23-25; 49:20-25; 157:23-158:2. On her return from leave, she used Microsoft’s flexible
15   work arrangements for new parents. Id. 149:2-151:7.
16            Muenchow admits her managers treated each employee “uniquely”; she simply assumes
17   gender played a role “because men and women are different.” Id. 52:18-55:15; 55:25-56:20;
18   70:16-72:23. Muenchow recognized a core competency for her role was communicating
19   expectations to her team (id. 113:22-114:6; 118:4-23; 172:16-23), but contends her managers
20   applied that requirement to her in a biased way. Id. 172:16-173:6. She believes her performance
21   would have received Microsoft’s highest rating had she not been evaluated as having
22   deficiencies in her communication skills. Id. 177:1-9. And she contends gender bias affected
23   every piece of feedback from her managers—male and female—with which she did not agree.
24   Id. 131:8-23; 132:12-25; 141:1-142:23; 152:9-153:2; 191:5-192:13.
25
     7
       Because none were present for their own calibration meetings, Plaintiffs’ nine declarants likewise have no basis for
26   concluding whether their recommended pay or promotion decisions were adjusted during calibration meetings and,
     if so, the basis for the adjustment. See, e.g., Hutson Tr. 66:15-17 (does not know whether “score was changed
27   during the calibration process”); Boeh Tr. 61:15-62:11 (“never been in th[e] room” for calibrations; speculation
     admittedly based on “hearsay”).

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 1           Muenchow does not generally know the feedback that her male colleagues received, but
 2   she “perceived” they were treated more favorably. Id. 83:10-18; 90:2-11; 131:7-132:5. To the
 3   extent she knew of her colleagues’ reviews, she admits managers also criticized their
 4   communicative tone and assertiveness; she simply says she received this feedback more,
 5   speculating it was because of gender. Id. 63:5-21; 65:19-66:24; 70:16-72:23; 83:2-84:17.
 6   Procedural History
 7           Plaintiffs’ First Amended Complaint challenged Microsoft’s obsolete 1-5 rating method
 8   for evaluating performance, which they inaccurately called “stack ranking.” See Dkt. 8 ¶¶25-29.
 9   The Court dismissed that claim because Plaintiffs did not “identif[y] any reason that the stack
10   ranking process would systematically rank women lower than men.” Dkt. 52 at 22. Plaintiffs’
11   Second Amended Complaint still targeted so-called “stack ranking” but added details to support
12   their performance-rating theory, see Dkt. 55 ¶¶26-41, which, according to this Court, “‘nudge[d]’
13   Plaintiffs’ claims—particularly the disputed element of causation—‘across the line from
14   conceivable to plausible’” for purposes of a motion to dismiss. Dkt. 134 at 10. Plaintiffs’ claims
15   rested on the theory that performance review scores were the discriminatory culprit. Dkt. 71 at
16   3. This Court recognized that “Plaintiffs’ disparate impact claim relies on the theory that
17   Microsoft’s stack ranking process led to arbitrary differentiations between technical employees’
18   evaluations” and that the “flawed performance evaluations form the basis of compensation and
19   promotion decisions.” Dkt. 134 at 11 & n.8 (emphasis added).
20           But the words “stack ranking” now appear nowhere in Plaintiffs’ Motion. Even though
21   the allegations in their complaint are “conclusively binding,” Am. Title Ins. Co. v. Lacelaw
22   Corp., 861 F.2d 224, 226 (9th Cir. 1988), Plaintiffs no longer argue that pay and promotions
23   flow from review scores—they say the opposite: “[j]ob performance, as measured by Microsoft’s
24   performance review process … does not explain pay and promotion decisions.” Mot. 6. And
25   Plaintiffs now admit their statistics show that “men’s and women’s performance review scores
26   are roughly equal.” Id. 7. But they show no alternate cause of the alleged gender disparity. In
27

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 1   short, Plaintiffs seek class certification to pursue a different claim than the one they pled—and
 2   abandon the causation theory that nudged them past early dismissal.
 3                                                       ARGUMENT
 4            Parties seeking certification must meet all Rule 23(a) requirements and at least one Rule
 5   23(b) requirement. Ellis v. Costco Wholesale Corp., 657 F.3d 970, 979-80 (9th Cir. 2011).8
 6   “Rule 23 does not set forth a mere pleading standard. A party seeking class certification … must
 7   be prepared to prove that there are in fact sufficiently numerous parties, common questions of
 8   law or fact, etc.” Dukes, 564 U.S. at 350. The Rule does not “establish an entitlement to class
 9   proceedings for the vindication of statutory rights”; instead, it “imposes stringent requirements
10   for certification that in practice exclude most claims.” Am. Express Co. v. Italian Colors Rest.,
11   133 S. Ct. 2304, 2309-10 (2013). A court must conduct a “rigorous analysis” of those stringent
12   requirements in deciding class certification. Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 161
13   (1982). And in conducting that rigorous analysis, the court “must consider the merits if they
14   overlap with the Rule 23(a) requirements.” Ellis, 657 F.3d at 981.9
15   I.       Plaintiffs Have Not Established Commonality Under Rule 23(a)(2)
16            Rule 23(a)(2) requires the putative class representative to demonstrate the existence of
17   “questions of law or fact common to the class” the “truth or falsity” of which will “resolve an
18   issue that is central to the validity of each one of the claims in one stroke.” Dukes, 564 U.S. at
19   349-50. In a Title VII case, commonality requires that “all the class members’ claims for relief”
20   must “produce a common answer to the crucial question why was I disfavored.” Id. 352.
21            A.       Plaintiffs’ Disparate Impact Claim Does Not Satisfy Commonality
22            The Supreme Court’s 2011 decision in Dukes forecloses any finding of commonality
23   here. In Dukes, Wal-Mart’s pay and promotion decisions were “generally committed to local
24   managers’ broad discretion, which [was] exercised ‘in a largely subjective manner.’” Id. 343
25
     8
       The Ninth Circuit’s Ellis decision will be referred to as Ellis and the district court’s decision on remand as Ellis II.
26   See Ellis v. Costco Wholesale Corp., 285 F.R.D. 492 (N.D. Cal. 2012).
     9
       Plaintiffs offer no independent certification analysis as to their state-law WLAD claim. Mot. 29 (citing Oliver v.
27
     Pac. Nw. Bell Tel. Co., 106 Wash. 2d 675, 678 (1986)). Microsoft responds in kind.

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 1   (citation omitted). Plaintiffs argued “local managers’ discretion over pay and promotions is
 2   exercised disproportionately in favor of men, leading to an unlawful disparate impact on female
 3   employees.” Id. 344. But the Court held that Wal-Mart’s “policy” of discretion is “a very
 4   common and presumptively reasonable way of doing business—one that … raise[s] no inference
 5   of discriminatory conduct.” Id. 355 (internal quotation marks and citation omitted). Although
 6   delegating “discretion to lower-level supervisors can be the basis of Title VII liability,” the Court
 7   explained, it does not necessarily “lead to the conclusion that every employee in a company
 8   using a system of discretion has such a claim in common.” Id. That is because there is a “wide
 9   gap” between “an individual’s claim that [s]he has been denied a promotion” and “the existence
10   of a class of persons who have suffered the same injury as that individual.” Id. 352-53 (citation
11   omitted). The Court posited a hypothetical company where some managers act on a sex-neutral
12   basis with no disparity, others look for attributes that unintentionally produce a disparate impact,
13   and others intentionally discriminate. Id. 355-56. Even though, on average, women may be
14   treated less favorably at that company, a plaintiff “will be unable to show that all the employees’
15   Title VII claims will in fact depend on the answers to common questions,”—i.e., why was I
16   disfavored will yield different answers. Id. 356. Finding plaintiffs had, at most, proved that pay
17   and promotion decisions at Wal-Mart were akin to this hypothetical company, the Court reversed
18   an order certifying both a disparate impact and disparate treatment class.
19           Class certification of a disparate impact claim based on the exercise of discretion is
20   appropriate only when a putative class can prove “a common mode of exercising discretion.” Id.
21   A common mode may arise if the putative class proves “discriminatory bias on the part of the
22   same supervisor.” Id. 350 (emphasis added). But as the number of decisionmakers grows, the
23   burden of showing they collectively exercised their discretion in a common way becomes more
24   difficult. Ellis II, 285 F.R.D. at 509 (“[T]he larger the class size, the less plausible it is that a
25   class will be able to demonstrate a common mode of exercising discretion.”). Accordingly, such
26   a class is more easily sustained where it involves a small group of managers responsible for
27   individuals who perform “closely-related” jobs. Id.

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 1              Here, Plaintiffs have, at most, described the hypothetical company in Dukes. Their class
 2   claims place at issue tens of thousands of discretionary decisions by thousands of managers
 3   about thousands of employees performing thousands of unique jobs without identifying a
 4   common mode of discretion reflected in pay and promotion decisions generally.
 5                     1.       Plaintiffs’ disparate impact claim is predicated on discretion
 6              Plaintiffs identify the common question for their disparate impact claim as “whether
 7   Microsoft’s Calibration process has a disparate impact on women in pay and promotions.”10
 8   Mot. 32. But that question does not go far enough. Plaintiffs effectively ask only whether the
 9   challenged process is “an unlawful employment practice,” which is “not sufficient to obtain class
10   certification.” Dukes, 564 U.S. at 349. Commonality requires proving class members suffered
11   the same injury from a common practice. Id. 349-50. That means a party “must pose a question
12   that will produce a common answer to the crucial question why was I disfavored.” Ellis, 657
13   F.3d at 981 (emphasis added) (internal quotation marks and citation omitted). Here, it does not.
14              Like in Dukes, Microsoft delegates discretion to thousands of managers to make pay and
15   promotion decisions. Plaintiffs’ disparate impact claim rests on the premise that those tens of
16   thousands of individual decisions—i.e., annual decisions for each of the 8,000+ putative class
17   members over the course of several years—can be deemed discriminatory (or not) “in one
18   stroke” based on the propriety of a set of practices Plaintiffs call the “Calibration Process.”11
19   Mot. 5. But they concede that Calibration’s “structural features preclude consistent decision-
20   making.” Mot. 1-2 (emphasis added). Plaintiffs and their experts repeatedly assert that
21   Microsoft managers varied in how they applied substantive criteria to make decisions:
22          •    “Calibration Managers did not follow a reliable standard for ensuring consistency of
                 review and comparison across performers.” Dkt. 55 ¶31.
23

24
     10
        Plaintiffs also propose a second question of “whether the practice is based on business necessity” and a third of
25   “whether there is a less discriminatory alternative.” Mot. 32. Those questions are conditioned on the first question
     satisfying commonality and so will rise or fall with that one. In any event, Plaintiffs present no evidence or
26   argument regarding those questions and therefore they necessarily fail to satisfy commonality.
     11
        Plaintiffs’ use of the term “Calibration Process” captures features of two distinct evaluation systems: calibration
27
     meetings (2011–2013) and people discussions (2014–present). Supra at 5-9; Mot. 5.

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 1         •     There is a “lack of standardization in the types of information serving as inputs into
                 compensation and promotion decisions.” Mot. 6.
 2
           •     “[D]ecision makers” “apply variable standards” in making comp awards. Id.
 3
           •     “Microsoft did not prescribe weights to the underlying criteria.” Id.
 4
           •     “[E]valuators were free to weight criteria for pay and promotions.” Id.
 5         •     Microsoft “does not” instruct “on how to weigh” job-related criteria. Id. 7.
 6         •     Microsoft “does not take steps” to ensure “managers apply the same standards
                 consistently with each other.” Id.
 7
           Plaintiffs and their experts likewise allege that different Microsoft managers handled the
 8
     meetings themselves differently:12
 9
           •     There is a “lack of standardization in … the specific procedures for discussing and
10               making compensation and promotion decisions.” Id. 6.

11         •     “Meetings were inconsistent in terms of whether direct supervisors attended, how it
                 was determined which employees were compared to each other, and what information
12               was available when recommendations were made.” Id.

13         •     Discussions, inputs, and process “were not consistently recorded.” Id.

14             Thus, Plaintiffs rest their claims on the very proposition that a uniform “Calibration
15   Process” does not exist, and their expert admitted that calibration meetings “were not uniform.”
16   Ryan Tr. 109:20-110:22. By Plaintiffs’ account, multiple processes comprising thousands of
17   unique discussions annually vary among hundreds of teams depending on a multitude of
18   individual factors and produce thousands of different outcomes. Plaintiffs’ concession that
19   Calibration “preclude[s] consistent decision-making,” Mot. 1-2 (emphasis added), is enough to
20   defeat certification because “a common mode of exercising discretion” is precisely what
21   Plaintiffs need to show to succeed. Dukes, 564 U.S. at 356. Without that, Dukes prohibits class
22   certification where “individualized, discretionary decisions of individual supervisors [a]re at
23   issue.” Troy v. Kehe Food Distribs., Inc., 276 F.R.D. 642, 651 (W.D. Wash. 2011) (Robart, J.).13
24
     12
        Whether, for instance, HR presence may chill discriminatory conduct in calibration meetings or direct managers’
25   presence increases the likelihood of discrimination during the meetings is itself highly individualized.
     13
        Other courts have come to similar conclusions in applying Dukes. See, e.g., Valerino v. Holder, 283 F.R.D. 302,
26   314 (E.D. Va. 2012) (commonality not met just because there is “some common structure governing promotion”
     because a court still “must assess the specific thing that a plaintiff claims creates bias and understand the way in
27   which it is common to the class”); Jones v. Nat’l Council of Young Men’s Christian Ass’ns, 34 F. Supp. 3d 896, 906


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 1   In short, the Calibration Process is “just the opposite of a uniform employment practice that
 2   would provide the commonality needed for a class action.” Dukes, 564 U.S. at 355.
 3            Plaintiffs cannot avoid Dukes by simply affixing a single label with capital letters (i.e.,
 4   “Calibration Process”) to highly individualized procedures. It does no more to alter the
 5   discretionary and non-uniform nature of the processes than if Wal-Mart had required all
 6   managers to justify pay and promotion decisions on blue paper: Even though a single “blue
 7   paper policy” applied, the reason for each employment decision would still depend on each
 8   manager, and so why was I disfavored would still yield different answers. The Dukes plaintiffs
 9   tried to repackage their arguments in a similar way on remand, challenging “uniform” promotion
10   guidelines requiring managers to consider “vague criteria” such as “interpersonal skills,”
11   “adaptability,” and “leadership ability.” Dukes v. Wal-Mart Stores, Inc., 964 F. Supp. 2d 1115,
12   1126-27 (N.D. Cal. 2013) (Dukes II). Like Plaintiffs here, the Dukes II plaintiffs argued that,
13   because of these vague guidelines, managers “were left without meaningful guidance in applying
14   the impossibly vague criteria” and therefore “fell back on their own stereotyped views of women
15   in making pay and promotion decisions.” Id. 1127; see also Ryan Tr. 218:13-21 (managers left
16   “without meaningful guidance in applying vague criteria” but no opinion about discrimination).
17            But the court in Dukes II rejected this as “Repackaged Delegated Discretion.” Dukes II,
18   964 F. Supp. 2d at 1126-27. The theory left “Plaintiffs right back where they started:
19   challenging Wal-Mart’s practice of delegating discretion to local managers, which the Supreme
20   Court specifically held” did not “supply[] a common question sufficient to certify a class.” Id.
21   1127. As Dukes II makes clear, substance, not form, guides the certification determination. No
22   matter the label, without proof of a common mode of exercising discretion, a claim attacking a
23   policy of discretion lacks commonality—because the reason for each employment decision still
24

25   (N.D. Ill. 2014) (even where “supervisors evaluate candidates according to specific, but subjective, factors” that
     “does not make the decisions produced by the process meaningfully less discretionary” under Dukes); Zuniga v.
26   Bernalillo Cty., 319 F.R.D. 640, 689 (D.N.M. 2016) (no commonality where plaintiffs argued defendant’s
     “employee selection policies readily lends itself to bias” by allowing “the top criterion used in making selective
27   decisions [to be] the ‘personal preference of the interviewer’”); see also Stiller v. Costco Wholesale Corp., 673 F.
     App’x 783, 784 (9th Cir. 2017) (no commonality where policy was “not implemented and applied uniformly”).

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 1   depends on each manager, and so why was I disfavored still yields different answers. Calibration
 2   meetings therefore cannot be the “glue” which holds the “reasons for all those decisions
 3   together.” Dukes, 564 U.S. at 352.
 4           For this reason, the criticisms of the Microsoft “process” leveled by Plaintiffs’ expert,
 5   Dr. Ryan, are beside the point. Courts do not “sit as a super-personnel department to second
 6   guess the wisdom of a business’s personnel decisions.” Evers v. Alliant Techsystems, Inc., 241
 7   F.3d 948, 957 (8th Cir. 2001) (internal quotation marks omitted); Greenfield v. Am. W. Airlines,
 8   Inc., 2005 WL 756602, at *11 (N.D. Cal. Mar. 31, 2005) (same). Dr. Ryan admits her report
 9   does not “contain any conclusion that women [we]re unfairly evaluated,” “denied promotion,” or
10   “paid at Microsoft based on their gender.” Ryan Tr. 25:19-22, (evaluated); 26:4-8 (promotion),
11   26:14-18 (paid). Nor does she offer any opinion regarding whether gender bias exists at
12   Microsoft, id. 27:3-13, or, a fortiori, provide any common way of proving discrimination, as
13   Dukes requires. It is unsurprising then that she “cannot answer” the “percentage of women” who
14   were allegedly “denied a promotion on the basis of gender.” Id. 238:22-239:7.
15           Dr. Ryan is therefore even less helpful for Plaintiffs than the expert in Dukes who said
16   the company was “‘vulnerable’ to ‘gender bias’” but did “nothing to advance [the plaintiffs’]
17   case” because he, like Dr. Ryan, could not determine “whether 0.5 percent or 95 percent of the
18   employment decisions” were due to gender which was “the essential question” on which
19   “commonality depends.” Dukes, 564 U.S. at 354. Dr. Ryan highlights the undisputed fact that
20   managers had significant discretion, and exercised it by using different processes and substantive
21   criteria. See, e.g., Ryan Tr. 204:5-205:6 (managers “free to weight competencies”), 209:2-6
22   (managers “free to apply and weight criteria”); 209:14-210:5 (managers “free to weigh factors”
23   such as “key results”); 212:20-213:6 (“free to make decisions while considering different types
24   of information”) (emphases added). Her main objections are the ways in which the so-called
25   “Calibration Process” is “not uniform.” Id. 109:20-110:22. But while Dr. Ryan criticizes this
26   “lack of standardization,” Mot. 6, “permitting discretionary decisionmaking” is a “very common
27   and presumptively reasonable way of doing business” and not susceptible to class certification.

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 1   Dukes, 564 U.S. at 353, 355.
 2           Plaintiffs’ other expert, Dr. Farber, also concedes that his model does not support the
 3   conclusion that “differences in promotion rates were due specifically to calibration meetings” or
 4   “people discussions.” Farber Tr. 264:13-24. Because neither expert links calibration meetings
 5   or people discussions to any alleged disparity, Plaintiffs cannot show that the answer to why was
 6   I disfavored was the same “calibration” or “people discussion” process for any class member, let
 7   alone that it is the common answer for every class member. That Plaintiffs never explain how
 8   calibration caused any alleged disparities is to be expected given that, during calibration, ratings
 9   were rarely changed, and on average, women benefited from score changes more than men.
10   Saad Rpt. ¶80 (in 2013, only 4% of ratings changed during calibration); ¶¶81-87.
11           Plaintiffs’ inability to identify a common cause here is precisely the problem that befell
12   another group of plaintiffs in their effort to certify a class challenging a similar calibration
13   system in Ross v. Lockheed Martin Corp., 2017 WL 3242237 (D.D.C. July 28, 2017). Under
14   Lockheed’s system, like the pre-2014 one at issue here, individual managers made evaluations
15   through written comments and numerical (1 to 5) ratings, which a group of managers further
16   reviewed in “calibration sessions” where final decisions were made. Id. *4. “[N]otwithstanding
17   Plaintiffs’ vigorous efforts to characterize Lockheed’s performance appraisal system as a
18   ‘companywide evaluation method’ and to assert that several common elements of that system
19   [we]re ‘flawed,’” the court refused to certify a settlement class because plaintiffs had “taken no
20   steps whatsoever toward” demonstrating “how that examination [system] operated in a biased
21   way.” Id. *15 (brackets and citations omitted). Bare statistics, the court explained, are
22   insufficient to show causation. Id. *16. And, in contrast to challenges to centralized
23   performance evaluation processes, plaintiffs’ challenge to Lockheed’s decentralized evaluation
24   process could not identify a “common contention” central to each class members’ claim that was
25   susceptible to classwide resolution. Id. *16-17. Here, Plaintiffs likewise offer no “account of
26   how the common features of the performance appraisal system led to … disparate outcomes
27   (other than by enabling discretionary decisions by individual supervisors).” Id. *17.

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 1                     2.       Plaintiffs’ limited authority shows why commonality does not exist
 2            Plaintiffs never come to grips with Dukes. Instead, they argue commonality for their

 3   disparate impact claim in two paragraphs citing three readily distinguishable cases. Mot. 32-33.

 4            In Ellis II, the court held Dukes did not preclude class certification for three reasons, none

 5   of which exists here. First, the Ellis II class comprised only 700 people—not 8,600+—and “the

 6   larger the class size, the less plausible it is that a class will be able to demonstrate a common

 7   mode of exercising discretion.” 285 F.R.D. at 509; see Farber Rpt. ¶11 (asserting pay class is

 8   8,630 women, while promotions class is 8,037 women). Second, the Ellis II class involved “only

 9   two closely-related, management-level positions”—Assistant General Manager and General

10   Manager—“that share a uniform job description across the class.” Id. The proposed class here

11   involves employees in thousands of different roles being evaluated against role-specific criteria.

12   Third, plaintiffs identified “a common mode of guided discretion directed from the top levels of

13   the company.” Id. The CEO himself was “directly involved in the process of recruiting and

14   selecting candidates for promotion” and personally “provide[d] instructions to his staff as to

15   criteria for promotion.” Id. 499. Unlike Dukes, pay and promotion decisions were governed by

16   a common mode of discretion. In stark contrast, Plaintiffs argue the top levels of Microsoft do

17   not provide direction and the thousands of managers making pay and promotion decisions have

18   too much discretion. Supra at 17-18; see also Ryan Rpt. ¶¶13(i), 15, 19, 25(i), 41.

19            Plaintiffs’ other two cases likewise involve different circumstances. In McReynolds v.

20   Merrill Lynch, Pierce, Fenner & Smith, Inc., 672 F.3d 482, 491 (7th Cir. 2012), the proposed

21   class involved only 700 persons in a single job position.14 And Parra v. Bashas’, Inc., 291

22   F.R.D. 360, 366, 374-75 (D. Ariz. 2013), certified a class on a challenge to a “written, non-

23   discretionary, centralized wage scale” which was “common for all [the defendant’s] employees

24   and provided for different pay for similar jobs based only on the store where the employee
     14
25     McReynolds distinguished Dukes on the ground that discretion was exercised “by brokers, not managers.” Id.
     489; see also id. (“[T]o the extent that these regional and local managers exercise discretion regarding the
26   compensation of the brokers whom they supervise, the case is indeed like Wal-Mart.”); id. (defendant gave
     “authorization to brokers, rather than managers”). That does not apply here. And, as the court found in Ross, unlike
27   the evaluation system at issue there (and here), the “teaming” policy in McReynolds supplied the certification “glue”
     (beyond a mere policy of discretion). 2017 WL 3242237, at *16.

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 1   worked.” (emphasis added). Both cases are inapposite.
 2                    3.       Plaintiffs’ statistics show why a class should not be certified
 3           Lacking case support, Plaintiffs turn to a lengthy expert report addressing statistical
 4   disparities. But their statistics show why a class cannot be certified. When evaluating expert
 5   opinions at class certification, it is not enough to determine whether they are admissible under
 6   Daubert; instead, courts must “judg[e] the persuasiveness of the evidence” and “resolve any
 7   factual disputes necessary to determine whether there was a common pattern and practice that
 8   could affect the class as a whole.” Ellis, 657 F.3d at 982-83 (emphasis added). Here, Dr. Farber
 9   impermissibly aggregates data, contrary to Supreme Court and Ninth Circuit precedent. When
10   disaggregated, his data shows an absence of pay and promotion disparity throughout the
11   proposed class—i.e., there is no common answer to why was I disfavored. Further, Dr. Farber
12   admits he cannot link his statistics to the challenged Calibration Process, meaning that he has no
13   common answer on the issue of causation.15 These flaws foreclose a finding of commonality.
14                             i.       Dr. Farber’s aggregate statistics are legally irrelevant
15           The Supreme Court has rejected Dr. Farber’s aggregate approach. In Dukes, the Court
16   observed that “information about disparities at the regional and national level does not establish
17   the existence of disparities at individual stores, let alone raise the inference that a company-wide
18   policy of discrimination is implemented by discretionary decisions at the store and district level.”
19   564 U.S. at 356-57 (citation omitted). The reason is simple: A disparity in the aggregate “may
20   be attributable to only a small set of Wal-Mart stores, and cannot by itself establish the uniform,
21   store-by-store disparity upon which the plaintiffs’ theory of commonality depends.” Id. 357.
22   Suppose ten streams feed into a lake. Finding toxicity in the lake says nothing about the toxicity
23   of each stream. It could be that one stream is highly polluted while nine are pristine. Here,
24   Plaintiffs must show not only that class members were discriminated against in the aggregate,
25   but that they were all discriminated against in the same way. If they cannot show “whether 0.5
26
     15
27     Dr. Farber also impermissibly compares employees who are not similarly situated, see, e.g., Nguyen v. Super. Ct.,
     2014 WL 4467850, at *3 (N.D. Cal. Sept. 9, 2014). Microsoft will address this issue in its Daubert motion.

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 1   percent or 95 percent of the employment decisions … might be determined by stereotyped
 2   thinking,” the class cannot be certified—the streams are relevant, not the lake. Id. 354 (citation
 3   omitted); see also Bolden v. Walsh Constr. Co., 688 F.3d 893, 896 (7th Cir. 2012) (“If Walsh had
 4   25 superintendents, 5 of whom discriminated in awarding overtime, aggregate data would show
 5   that black workers did worse than white workers—but that result would not imply that all 25
 6   superintendents behaved similarly, so it would not demonstrate commonality.”).16
 7            The Ninth Circuit made the same point in Ellis. The lower court did not resolve a dispute
 8   over statistical variations among regional stores. Ellis, 657 F.3d at 983. Costco argued that any
 9   gender disparities were confined to only two of eight regions. Id. If that were true, the Court
10   explained, the class could not be certified: “A disparity in only 25% of the regions … would not
11   show that discrimination manifested itself in promotion practices in the same general fashion
12   throughout Costco—which is necessary to show commonality in a nationwide class.” Id.
13   (internal punctuation, citation omitted; emphasis added). The Court should disregard Dr.
14   Farber’s aggregate statistics—as many courts have done in similar circumstances.17
15                              ii.      Plaintiffs’ own data shows the class cannot be certified
16            Dr. Farber’s report actually shows a lack of commonality:
17            Promotions. Dr. Farber asserts that out of 23,170 promotion opportunities for women,
18   16
        Even properly disaggregated statistics would not suffice because (as Dukes observed) some managers may have
     gender-neutral explanations for the disparity, and different managers may be using different criteria. Id. at 357.
19   17
        See also Bennett v. Nucor Corp., 656 F.3d 802, 815-16 (8th Cir. 2011) (“[B]ottom-line analysis is insufficient to
     demonstrate that any disparate treatment or disparate impact present in one department was also common to all the
20   others.”); Dukes II, 964 F. Supp. 2d at 1120 (rejecting certification where plaintiffs’ statistics showed statistically
     significant results in 19 of 42 districts, or 45%); Barrett v. Option One Mortg. Corp., 2012 WL 4076465, at *2 (D.
21   Mass. Sept. 18, 2012) (“Wal-Mart disapproves the use of aggregate, nationwide statistics to prove a common
     method of exercising discretion at the local level.”); Valerino v. Holder, 283 F.R.D. 302, 315 (E.D. Va. 2012) (The
22   data is not specific to the 94 offices or headquarters, nor can nationwide figures alone demonstrate commonality of
     issue.”); Bell v. Lockheed Martin Corp., 2011 WL 6256978, at *8 (D.N.J. Dec. 14, 2011) (“Plaintiffs seek damages
23   based on aggregate statistical analyses” which is “substantially the same statistical … evidence that the Dukes Court
     rejected.”). Ellis II used aggregate statistics, but only because the number of promotions in each region was too
24   small for a useful sample and nationwide statistics conformed to the level of decision for the challenged practices.
     285 F.R.D. at 522-23. Those issues are not present here (putting aside whether the Ellis II analysis is correct). Dr.
25   Saad’s method of presenting Dr. Farber’s model by supervisor is not susceptible to sample size problems. Saad Rpt.
     ¶¶34, 45. And for the disaggregations where sample size is relevant, Dr. Saad was able to calculate a statistical
26   significance for 95%-99% of the female population, depending on the analysis. Id. ¶168 n.133-34; Appx. 2 pp. 33-
     36. And unlike in Ellis II where most of the sample sizes were “under 20, and frequently under 10,” 285 F.R.D. at
27   522, here the sample sizes are often 300 or more (up to 3,000). Saad Rpt ¶33, ¶168 (notes to charts); Appx. 2 at pp.
     33-36.

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 1   there were 518 improper promotion decisions. Farber Rpt. ¶77, Tbl. 7; Farber Tr. 270:7-24.
 2   Dr. Farber thus concluded only 2.2% of promotion decisions regarding women were attributable
 3   to gender. Id. 272:12-19. But two of the five years of data Dr. Farber used fell outside the class
 4   period, which he included for no other reason than Plaintiffs’ counsel provided that data. Id.
 5   35:23-37:9. He admits that if his analysis were limited to the class period “there would be fewer
 6   women” purportedly denied promotions. Id. 129:21-130:7. In fact, the 518 figure drops to 337.
 7   Saad Rpt. ¶89. Taking their “evidence” at face value, Plaintiffs admit the answer to was I
 8   disfavored will be “no” for the vast majority of the class and potentially “yes” for only a few—
 9   and the allegedly aggrieved class members could be identified only after individual fact-finding,
10   requiring assessment of legitimate business reasons for each decision.
11           In these circumstances, Rule 23 prohibits class certification. “Article III does not give
12   federal courts the power to order relief to any uninjured plaintiff, class action or not.” Tyson
13   Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1053 (2016) (Roberts, J., concurring); see also
14   Mazza v. Am. Honda Motor Co., 666 F.3d 581, 594 (9th Cir. 2012) (“[N]o class may be certified
15   that contains members lacking Article III standing.”). The inclusion of admittedly uninjured
16   individuals in the class—according to Dr. Farber, at least 95.8% of the promotions class (7,770
17   of 8,037 women, or all but 337)—shows its overbreadth and the “individualized inquiries that
18   would be necessary to determine whether a class member has suffered any injury in the first
19   place.” Moore v. Apple Inc., 309 F.R.D. 532, 542-43 (N.D. Cal. 2015) (citing Kohen v. Pac. Inv.
20   Mgmt. Co., LLC, 571 F.3d 672, 677 (7th Cir. 2009)); Ross, 2017 WL 3242237, at *17 (refusing
21   to certify impermissibly “broad” settlement class, which contained “no limitation that ensure[d]
22   all class members have suffered the same adverse action or have otherwise been personally
23   affected by [the employer’s] performance appraisal system”). Thus, Dr. Farber’s analysis
24   affirmatively demonstrates why the Court should not certify Plaintiffs’ proposed class.
25           Moreover, Dr. Farber’s data shows large areas where no promotion disparity exists at
26   all—not the sort of disparity across decisionmakers that might suggest a common practice. To
27   be clear, Dr. Farber’s model is critically flawed. But even using Dr. Farber’s data and controls,

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 1   the promotion decisions lack the uniformity required for commonality. To gauge uniformity,
 2   Dukes and Ellis require assessing the disparity within each relevant decisionmaking unit, rather
 3   than simply compiling an aggregate number for the entire class (as Dr. Farber does). Here, those
 4   units are the managers making individual pay and promotion decisions. While executive vice
 5   presidents are “final approvers” (“Level 1”), they focus on budget and do not make any
 6   individual pay and promotion decisions for lower-level employees, particularly those in
 7   Plaintiffs’ proposed class. Supra at 8. The same is true for subapprovers—those one level below
 8   “final approver” (“Level 2”). Nevertheless, even looking at the decisions at that attenuated sub-
 9   approver level, Dr. Farber’s model shows that only 3 of 47 supervisors (6%) have a statistically
10   significant promotion disparity adverse to women in 2015.18 That disparity is even more isolated
11   than in Ellis, where the pockets of disparity included 25% of Costco’s regions. Saad Rpt.
12   ¶44. The numbers drop even further here when examined at the levels where individual pay and
13   promotion decisions are actually made: Level 3 supervisors (3%) and Level 4 supervisors
14   (1%). Id. These results are essentially the same for any year in the class period. Id. Appx. 1 at
15   pp.15-30. Ellis held that a class cannot be certified if a disparity manifests itself in only a few
16   areas of the class, which is precisely what Plaintiffs’ own statistics show. 657 F.3d at 983.
17            Nor can Dr. Farber opine at all on the fundamental issue of causation, much less show
18   that causation produces a common answer across the class. While Plaintiffs claim Dr. Farber
19   “describes statistically significant and meaningful gender-based pay differentials caused by the
20   Calibration Process,” Mot. 2 (emphasis added), Dr. Farber admits he did no such thing: his
21   model provides no “support for the conclusion that differences in promotion rates were due
22   specifically to calibration meetings” or “people discussions.” Farber Tr. 264:13-24. He did not
23   do “anything to determine how pay or promotion decisions changed during the calibration
24   meetings and people discussions from the manager’s initial recommendation.” Id. 314:11-16.19
25   18
       To be clear, as Dr. Farber noted, even this disparity does not demonstrate discrimination. Infra at 27.
     Individualized determinations would be required to assess the actual cause of these alleged disparities.
26   19
       Further, Dr. Farber failed to distinguish between promotions during the annual calibration process and those that
     occur outside it. Dr. Saad, shows that, in fact, under Dr. Farber’s own model, there is no significant disparity as to
27
     promotions during the calibration process—the only process Plaintiffs challenge. Saad Rpt. ¶¶104-05.

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 1           Just as the Dukes expert could not tell “whether 0.5 percent or 95 percent of the
 2   employment decisions” were actionable, 564 U.S. at 354, Dr. Farber does not know what
 3   percentage of the 8,037 women in the promotion class were allegedly denied a promotion due to
 4   gender other than it was “some number less than 518” (actually some number less than 337),
 5   Farber Tr. 316:22-317:20, even though this is “the essential question” on which “commonality
 6   depends.” Dukes, 564 U.S. at 354. Likewise, Dr. Farber could not state whether “any particular
 7   woman” was discriminated against, which would be an “entirely different analysis.” Farber Tr.
 8   189:15-190:4. Plaintiffs want to certify a class to obtain a “presumption of individualized harm
 9   for each [of the 8,600+] class member[s],” Mot. 40, when their own expert’s data, taken at face
10   value, suggests that at most only a fraction of the requested class may have been improperly
11   denied a promotion based on gender—and identifying that small fraction (assuming it exists)
12   would require detailed evidence at individual hearings. As for Plaintiffs’ half-page pyramid,
13   Mot. 5, Dr. Farber explained it is irrelevant. It lacks “any controls” and does not say “anything
14   statistically significant.” Farber Tr. 259:2-12. Unsurprisingly then, Dr. Farber testified his
15   “opinion isn’t based” on that chart. Id. 321:3-4.
16           Pay. Dr. Farber’s pay analysis fares no better than his promotion analysis. Only 7.8% of
17   the pay decisions in Dr. Farber’s model indicate a woman earned statistically significantly less
18   than predicted that year. Saad Rpt. ¶29. And 5.9% earned significantly more than predicted. Id.
19   The vast majority (86.3%) earned within Dr. Farber’s predicted range. Id.
20           In analyzing pay, Dr. Farber does not factor in stock level because he concludes it is a
21   “tainted variable.” Farber Rpt. ¶48. Controlling for stock level means comparing only
22   employees at the same level. Without that control, an entry-level female in an L59 role could be
23   compared to an experienced male in an L65 role, as Dr. Farber does. Accounting for it, L59
24   female pay would be compared against only L59 male pay. Farber. Tr. 229:11-230:6. The pay
25   disparity Dr. Farber identifies therefore builds upon his promotion disparity—i.e., how much
26   women were paid less because they were not promoted at equal rates to men. Mot. 9-10; Farber
27   Tr. 231:18-232:8 (pay and stock level “amount to the same statement”); 232:17-23 (difference

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 1   between the two is “just a labeling issue”—“different labels for the same general company HR
 2   decision”). Dr. Farber acknowledges his analysis “does not show how women would be paid
 3   relative to men if women and men were promoted at equal rates.” Farber Tr. 227:2-8. Because
 4   his promotions analysis does not show commonality, neither does his pay analysis.
 5           Nevertheless, Microsoft’s expert Dr. Saad again followed Dr. Farber’s approach
 6   (including not controlling for stock level) but shown by sub-approver. And the results once
 7   again show that under Dr. Farber’s faulty model, at worst only isolated pockets of pay disparity
 8   exist. For example, at Level 2 during 2015, 25% of supervisors significantly underpay more
 9   women than they significantly overpay. Saad Rpt. ¶35. Similar results can be found for Level 3
10   supervisors (25%) and Level 4 supervisors (22%). Id. Many supervisors pay every single
11   female employee within the range of what Dr. Farber’s model would predict. See, e.g., id. (398
12   of Level 4 managers, or 58%). And had Dr. Farber controlled for stock level—which would
13   show the pay disparity isolated from any promotion disparity—the same pockets still exist: in
14   2015, only five Level 2 supervisors (10%) show a statistically significant disparity, and seven
15   Level 3 supervisors (3%). Id. ¶168. No matter how the data is sliced, Plaintiffs’ own statistics
16   show a lack of commonality under Dukes and Ellis.
17                   4.      Plaintiffs’ declarations are insufficient to show commonality
18           Plaintiffs offer conclusory anecdotes from nine declarants, which appear to be relevant
19   only to their disparate treatment claim, as they barely refer to the so-called “Calibration Process.”
20   For example, several declarants claim they suffered discrimination when they were first hired by
21   Microsoft years ago and were purportedly paid less than men. See, e.g., Smith Tr. 96:3-97:16;
22   Vaughn Tr. 102:5-105:21; Warren Tr. 82:24-88:17. But calibration and people discussions do
23   not occur at hire. As a result, these anecdotes have no bearing on Plaintiffs’ disparate impact
24   claim and are discussed below under disparate treatment. Even if the declarations go toward the
25   disparate impact claim, they are too few to move the needle on commonality under Dukes, as
26   discussed below.
27

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 1           B.      Plaintiffs’ Disparate Treatment Claim Does Not Satisfy Commonality
 2           Plaintiffs’ disparate treatment claim differs from their disparate impact claim in that it
 3   requires proof of intentional discrimination. But their motion to certify a class for that claim has
 4   many of the same flaws as their motion on the disparate impact claim.
 5           A “wide gap” exists between an individual discrimination claim and “the existence of a
 6   class of persons who have suffered the same injury as that individual.” Dukes, 564 U.S. at
 7   352-53 (quoting Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 157 (1982)). To bridge that gap,
 8   the Supreme Court explained, plaintiffs seeking certification of a disparate treatment claim must
 9   provide “[s]ignificant proof that an employer operated under a general policy of discrimination.”
10   Id. 353 (emphasis added, citation omitted). In addition, the discrimination must have
11   “manifested itself in … promotion practices in the same general fashion.” Id. To justify a class,
12   Plaintiffs must show not only that discrimination was “the regular rather than the unusual
13   practice,” but also that Microsoft directed and approved discrimination as its “standard operating
14   procedure.” Id. 352 n.7 (citation omitted); see Dukes II, 964 F. Supp. 2d at 1122 (plaintiffs must
15   prove “discrimination against women was actually directed by Wal-Mart”). “In the systemic
16   disparate treatment context, the focus shifts from the individual decisionmaker to the employer
17   as an entity.” Diaz v. Ashcroft, 301 F. Supp. 2d 112, 115 (D.P.R. 2004). Ultimately, Plaintiffs
18   have the high burden of showing significant proof that a company is so rife with discrimination,
19   that the company intentionally created a de facto policy to discriminate. The commonality
20   inquiry for disparate treatment therefore “necessarily overlaps with [any] merits contention that
21   [an employer] engages in a pattern or practice of discrimination.” Dukes, 564 U.S. at 352.
22                   1.      Plaintiffs provide no significant proof that discrimination is the usual
                             practice at Microsoft
23
             “If there is no evidence that the entire class was subject to the same allegedly
24
     discriminatory practice, there is no question common to the class.” Dukes II, 964 F. Supp. 2d at
25
     1121 (quoting Ellis, 657 F.3d at 983). Here, Plaintiffs’ own statistics, even accepted at face
26
     value, negate any inference of a common policy of discrimination. According to Dr. Farber,
27

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 1   Microsoft made non-discriminatory promotion decisions as to at least 7,700 of the 8,037 class
 2   members—95.8%. Supra at 24-25. Further, Dr. Farber’s analysis of alleged pay disparities adds
 3   nothing to his promotions analysis. Supra at 27-28. And when separated by supervisor, his data
 4   shows no pay disparities across broad swaths of Microsoft. Id. at 24-28. Accordingly, the Court
 5   should have “little difficulty concluding that the statistics … do not reflect ‘significant proof’ of
 6   a ‘general policy of discrimination.’” Dukes II, 964 F. Supp. 2d at 1121 (quoting Dukes, 564
 7   U.S. at 353).
 8           Aside from Dr. Farber’s flawed analysis, Plaintiffs offer only declarations from a few
 9   class members and anecdotes from internal HR complaints. Neither meets their burden to prove
10   a general policy of discrimination. And Dr. Ryan is no help on that front because her opinion
11   says nothing about discrimination at all. Supra at 20. Though there is no established cutoff for
12   the number of declarations required to show “significant proof,” Dukes approvingly cited the
13   roughly 1 to 8 ratio between affidavits and class size in Teamsters, see Dukes, 564 U.S. at 358
14   (citing Teamsters v. United States, 431 U.S. 324, 337 (1977)), where the plaintiffs coupled
15   anecdotes with evidence that defendant had zero African-Americans among its 1,828 line
16   drivers. See also Dukes, 564 U.S. at 358 (1 in 12,500 insufficient); Dukes II, 964 F. Supp. 2d at
17   1124 (1 in 1,745 insufficient). Here, Plaintiffs offer only 9 declarants, representing 0.1% of the
18   putative class—fewer declarants than testify about positive, non-discriminatory experiences at
19   Microsoft.20 Even “if every single one of [Plaintiffs’ declarants’] accounts is true,” Dukes, 564
20   U.S. at 358, this evidence would show only that 1 out of every 959 class members potentially
21   encountered discrimination over the course of five years—far short of a policy. Plaintiffs’ proof
22   pales in comparison to the evidence in the cases on which they rely, where anecdotal evidence
23   exceeded the volume deemed sufficient in Teamsters. See Mot. 34 (citing Brown v. Nucor
24   Corp., 785 F.3d 895, 913 (4th Cir. 2015) (evidence from 1 in 6.25 class members); Rollins v.
25
     20
26     See discussion Appel Dec. ¶5; Calla Dec. ¶¶4, 11-12; Easterbrook Dec. ¶¶6, 12; Freshour Dec. ¶13; Kunes Dec.
     ¶¶5, 11; Lee Dec. ¶12; Mahalati Dec. ¶¶11-12; Shariff Dec. ¶¶8-9; Sones Dec. ¶¶7, 10; Waheed Dec. ¶¶6-7;
27   Watterson Dec. ¶¶11-12, 19; Alvarez Dec. ¶¶7-10; Iyer Dec. ¶¶5, 9; Ku Dec. ¶14; Liuson Dec. ¶¶8-9, 19; Lockard
     Dec. ¶10; Mao Dec. ¶¶11-12.

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 1   Traylor Bros., 2016 WL 258523, at *5, 7-8 (W.D. Wash. Jan. 21, 2016) (1 in 5)).
 2            Further, the 0.1% of the class who submitted declarations did not even all testify that in
 3   their experiences discrimination is the norm; they agreed it depends on the manager. See
 4   Muenchow Tr. 63:5-21 (managers have no “standard way of treating people”); Underwood Tr.
 5   198:19-199:3 (“discriminating on the basis of gender is event-specific and person-specific”);
 6   Alberts Tr. 76:9-20 (approach of male manager personality-dependent). Plaintiffs’ declarations
 7   are thus “too weak to raise any inference that all the individual, discretionary personnel decisions
 8   are discriminatory.”21 Dukes, 564 U.S. at 358.
 9            Unable to support certification from their declarations, Plaintiffs point to a hodgepodge
10   of statements and incidents intended to show an “atmosphere” or “culture” hostile to women.
11   Mot. 19-26. But Plaintiffs not only need to show “significant proof” of a “general policy of
12   discrimination,” they must also “link the alleged culture of gender bias to the challenged pay and
13   promotion decisions”—i.e., they must show they can prove causation on a classwide basis.
14   Dukes II, 964 F. Supp. 2d at 1119-20 (emphasis added); see also Oseman-Dean v. Illinois State
15   Police, 2012 WL 1280226, at *14 (N.D. Ill. Apr. 12, 2012) (requiring link between alleged
16   culture and discrimination). They have not done so. Plaintiffs offer notably few examples of
17   pay and promotion issues among the class. For instance, despite protesting that the ERIT team
18   21
        The declarations suffer from many other evidentiary problems. They are riddled with multiple layers of hearsay,
     to which no exception applies. E.g., Muenchow Dec. ¶6 (“when [women] speak up in meetings, they receive
19   negative criticism for being too aggressive, but men routinely interrupt or talk over women without criticism”).
     They are conclusory and lack foundation. E.g., Boeh Dec. ¶6 (stating belief that pay inequity is “a systemic problem
20   at Microsoft” based on her experience and one other where man allegedly offered more money than woman); Dove
     Dec. ¶5 (“I believe I was discriminated against in the calibration process because someone had to receive zero
21   rewards, and that someone became me because of my gender.”). They even contradict their own deposition
     testimony. Compare, e.g., Alberts Dec. ¶8 (stating human resources never got back to her) with Alberts Tr. 170:3-
22   172:9 (admitting she specifically asked HR not to take any action) and Smith Dec. ¶7 (men drank together and
     excluded her) with Smith Tr. 112:13-20 (men usually invited her to go drinking with them). The Rules of Evidence
23   apply to class certification determinations and the Court should strike this inadmissible evidence. See, e.g., Khadera
     v. ABM Indus. Inc., 701 F. Supp. 2d 1190, 1196 n.2 (W.D. Wash. 2010) (criticizing plaintiffs for “brazenly
24   argu[ing]” that evidence rules do not apply at this stage); Hoffman v. Securitas Sec. Servs., 2008 WL 5054684, at
     *12 (D. Idaho Aug. 27, 2008) (striking hearsay in class certification declarations); Rix v. Lockheed Martin Corp.,
25   2011 WL 890744, at *3 (S.D. Cal. Mar. 14, 2011) (striking declaration at certification stage that “NISPON is the
     bible, it governs everything” on basis that “[a] declaration should not be argument”) (citation omitted); Hurley v.
26   U.S. Healthworks Med. Grp. of Wash., P.S., 2006 WL 1788994, at *1-2 (E.D. Wash. June 27, 2006) (striking
     declarations not based on personal knowledge or which reflected legal conclusions); Puffer v. Allstate Ins. Co., 255
27   F.R.D. 450, 467 (N.D. Ill. 2009) (bare allegations of “boys’ club culture” are “too vague”).


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 1   determined only one gender-related concern was “founded” during the relevant timeframe, Mot.
 2   24, they cite not one example of a pay/promotion concern for which they contend ERIT should
 3   have found a violation of company policy. Instead, Plaintiffs cobble together isolated instances
 4   of claimed harassment or retaliation that are not limited to class members and have essentially no
 5   relevance to their pay and promotion allegations.22
 6           Even if Plaintiffs could link their evidence to pay and promotions, it suffers from two
 7   further critical flaws. First, the “proof” falls far short of what evidence rules require. The
 8   statements consist of gossip from message boards, one-sided accounts of alleged incidents that
 9   occurred years earlier, and multiple levels of inherently unreliable hearsay,23 which should be
10   stricken.24 Second, Plaintiffs ignore that the incidents (even if accepted as true) must be
11   considered in the context of millions of daily interactions within a workforce of tens of
12   thousands of employees during the proposed class period. While Plaintiffs have shown isolated
13   reports of purported inappropriate behavior, their evidence falls far short of the necessary
14   “significant proof” that discrimination is the norm to the point where it reflects Microsoft policy.
15

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     22
        Take one of Plaintiffs’ examples: where a manager touched a female employee’s leg at a team dinner. Mot. 22
19   (citing MSFT818175). ERIT investigated the incident by interviewing ten employees—those also at the table. The
     investigation determined the male employee’s “account and denial were not credible” and concluded he violated
20   policy. While no doubt inappropriate, that manager’s leg-touching—which Microsoft did not tolerate—says nothing
     about any alleged impact on the complainant’s pay and promotion history.
21   23
        Some statements, even if true, lack an explanation as to how they show gender bias (such as using a popular song
     as a project name or a shirt depicting one Microsoft team (AppEx) eating another team (MSN)). Mot. 20.
22   24
        These hearsay statements are inadmissible even if they appear within business records, as they constitute hearsay
     within hearsay. See C.O. v. Coleman Co., 2008 WL 820066, at *2 (W.D. Wash. Mar. 25, 2008) (underlying hearsay
23   also must fit within hearsay exception); United States v. Bortnovsky, 879 F.2d 30, 34 (2d Cir. 1989) (citing Ninth
     Circuit cases) (hearsay in business records inadmissible when person providing information had no business duty to
24   report). Nor are these hearsay statements party admissions. See, e.g., Richards v. City of Seattle, 2008 WL
     2570668, at *9 n.15 (W.D. Wash. June 26, 2008) (statements concerning reasons for adverse employment action
25   admissible only if declarant was involved in decision); Young v. James Green Mgmt., Inc., 327 F.3d 616, 622–23
     (7th Cir. 2003) (statements of former employee inadmissible against employer because they were made in the
26   context of terminating his employment, placing him in an “adversarial relationship” with employer). Plaintiffs’
     reliance on settlement demand letters, see Mot. 24-27 (citing MSFT59215, 64918, 64978, 64984, 859406, 865592),
27   is also improper under FRE 408. See Millenkamp v. Davisco Foods Int’l, Inc., 562 F.3d 971, 980 (9th Cir. 2009)
     (barring settlement negotiations offered to prove liability).

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 1                   2.      Plaintiffs provide no significant proof that Microsoft sponsored or
                             directed intentional discrimination
 2
             Plaintiffs offer no evidence that any alleged discrimination “was actually directed by”
 3
     senior leadership. Dukes II, 964 F. Supp. 2d at 1122. Rather, the record shows Microsoft
 4
     leadership is mindful of workplace bias issues, devotes substantial resources to programs
 5
     combatting it, and holds leaders accountable. Supra at 9-12. Microsoft prohibits gender
 6
     discrimination and provides remedies to aggrieved employees. Id. Its 25-person D&I team
 7
     educates employees on issues such as unconscious bias. Dhillon Decl. ¶¶7-8. Nothing in the
 8
     record suggests this substantial investment is mere “window-dressing,” as Plaintiffs argue. See
 9
     Mot. 27-28. And the communications Plaintiffs point to among D&I employees show nothing
10
     more than that Microsoft was constantly striving to do even better. Id.
11
             Further, to justify certification of their disparate treatment claim, Plaintiffs must show
12
     senior management’s actual participation in an intentionally discriminatory policy. For example,
13
     in Ellis II, “[t]op management’s involvement in the promotion process [wa]s … consistent, and
14
     pervasive, classwide,” to the point that the list of individuals eligible for promotion and the
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     criteria for promotion was maintained and approved by senior management. 285 F.R.D. at 511-
16
     12. Here, by contrast, high-level management delegated implementation of Microsoft’s pay and
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     promotion system to lower-level managers who conducted annual reviews and made pay and
18
     promotion decisions—and even Plaintiffs concede many of those managers acted fairly.
19
             Nonetheless, Plaintiffs argue that Microsoft’s top executives implicitly adopted a contrary
20
     general policy of intentional discrimination by ignoring evidence of disparate impact as reflected
21
     by: (1) Microsoft’s internal reviews of pay and promotion decisions (which Plaintiffs refer to as
22
     self-audits), (2) OFCCP audits, (3) inquiries from employees following Microsoft’s equal pay
23
     announcements, (4) ERIT complaints, and (5) training. None of this shows the intent Plaintiffs
24
     claim; moreover, the “evidence” is based on faulty assumptions.
25
             Microsoft Internal Reviews. Plaintiffs argue Microsoft “must be aware [of] the
26
     disparities in compensation and promotion identified” by Plaintiffs, because Microsoft “slices
27
     and dices ... data six ways to Sunday.” Mot. 11. As an initial matter, this is conjecture, not
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 1   evidence, as Plaintiffs acknowledge. Id. More importantly, as Dr. Saad explains, when the
 2   factors available in the data are taken into account, the alleged disparities identified by Plaintiffs
 3   are not practically significant. Saad Rpt. ¶¶9-13 & n.7, 167, 176.
 4            OFCCP. OFCCP regularly audits government contractors. During the proposed class
 5   period, OFCCP conducted and closed audits of 18 Microsoft locations without any adverse
 6   findings—even though, according to Plaintiffs’ theory, all of these establishments had the same
 7   policies and procedures Plaintiffs challenge. Parris Dec. Ex. 19. Ignoring those 18 other audits,
 8   Plaintiffs urge the Court to rely—as an evidentiary matter—upon OFCCP’s notice of violation as
 9   to the Redmond facility, which focuses solely on certain Software Engineering positions. Mot.
10   11 (citing MSFT65719, 801714). But a “notice of violation” is not evidence. It is tantamount to
11   a demand letter, issued by the agency before receiving Microsoft’s position on the merits and
12   before the OFCCP shares information regarding the basis for its views. OFCCP has not begun a
13   lawsuit, and the parties are discussing the alleged violations and related statistical models. Even
14   if the OFCCP files suit, its complaint will consist of allegations—allegations that will only then
15   be addressed on the merits. OFCCP’s preliminary and untested allegations are not evidence,
16   much less “significant proof.” The Court should not rely on them.25
17            Employee Inquiries. Plaintiffs point to comments from employees after Microsoft’s
18   equal pay announcements expressing a belief that Microsoft should have focused on promotions
19   rather than pay within level.26 Mot. 13-16. But these comments did not put Microsoft on notice
20   that meaningful disparities in fact existed. It makes no difference that some employees thought a
21

22
     25
23      OFCCP’s legal conclusions are not admissible. See Sullivan v. Dollar Tree Stores, Inc., 623 F.3d 770, 777 (9th
     Cir. 2010). Nor are OFCCP’s alleged factual findings admissible in the absence of adversarial testing. Id. at 778
24   (rejecting DOL report where, inter alia, investigator’s experience could not be determined and no hearing held);
     Kibler v. G.M.C., 1996 WL 767417, at *2 (W.D. Wash. July 9, 1996) (report untrustworthy absent cross-
     examination and ability to examine documents underlying report). OFCCP’s conclusions rest on inadmissible
25   hearsay (e.g. employee interviews) and opinions from witnesses not testifying as experts. OFCCP has not provided
     details of its expert report to test its reliability, and its “expert” has not been offered as an expert here. See Zottola v.
26   City of Oakland, 32 F. App’x 307, 312 (9th Cir. 2002) (prohibiting non-expert testimony on statistical analyses).
     26
27      These, too, are inadmissible hearsay statements and lay opinions. Supra at n.21.


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 1   different analysis would produce a different result—and it certainly is not the “significant proof”
 2   of a discriminatory policy required to justify certification.27
 3            ERIT. Plaintiffs suggest Microsoft became aware of pervasive discrimination and
 4   declined to address it by pointing to the number of complaints brought to ERIT’s attention,
 5   declaring that the number (out of millions of employee interactions) “is shocking.”28 Mot. 23-
 6   26. But Plaintiffs offer no support for the implication that complaints of that volume over
 7   several years is even unusual for a company this size. Compare Young Rpt. ¶¶56-57. Moreover,
 8   Plaintiffs equate allegations (many of which were unfounded) of policy violations with proof of
 9   legally actionable conduct. ERIT’s findings of harassment in violation of company policy,
10   which is broader than the law, often led to concrete action, which Plaintiffs ignore. See id. ¶¶24,
11   55. And even when ERIT finds no policy violation after an investigation, Microsoft often still
12   takes proactive steps such as counseling and further training. Id. ¶¶24, 55, 57; see also, e.g.,
13   MSFT632384; 721342; 812609; 812064. Plaintiffs’ selective statistics and anecdotes29 offer no
14   basis for undermining ERIT’s efficacy,30 particularly when Microsoft’s expert Rhoma Young
15   states that ERIT conducts investigations that are “thorough, timely, accurate, objective, and well-
16   documented, and target thoughtful and reasoned conclusions.” Young Rpt. ¶37; see also id. ¶24;
17   DeLanoy Tr. 157:6-13; 157:21-159:3; 159:16-24.
18            Training. All employees must complete unconscious bias training. MSFT642362. Over
19   100,000 people have completed that training and have moved on to supplemental programs.
20   MSFT238537. Plaintiffs, however, attack Microsoft’s training based on (a) hearsay that one
21   27
        In any event, whatever notice Plaintiffs contend Microsoft received, their own expert’s statistical analysis shows,
     at worst, isolated pockets of discrimination—not evidence of the sort of endemic discrimination necessary to justify
22   class certification of a disparate treatment claim.
     28
       Though 29 of these complaints identified a policy violation, that does not mean, as Plaintiffs imply, no
23
     wrongdoing was found as to the other complaints or no corrective action was taken.
     29
24     One declarant, for example, inaccurately surmised that ERIT was not doing anything because she “did not see
     [ERIT] take any action to address the discrimination.” Underwood Dec. ¶9. In fact, ERIT did investigate her
25   complaint, but Underwood left Microsoft before the investigation concluded. MSFT640143.
     30
       Plaintiffs suggest that because Microsoft does not brand the subjects of complaints with a scarlet letter (“repeat
26   offenders” as Plaintiffs call them), its processes are “troubling[].” Mot. 25. But the standards of workplace
     investigations do not mandate a presumption of guilt based on a report without adverse finding. In any event,
27   Microsoft maintains complaint files and can account for prior histories if another complaint arises. DeLanoy Tr.
     82:17-83:4; 89:4-14; 89:17-23; 90:23-92:4; 91:23-92:4; 92:14-93:24; 94:10-16; 167:22-25.

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 1   participant (out of 100,000) perceived one session facilitator “tended” to ignore less outspoken
 2   women in that audience, and (b) Muenchow’s view that the training hasn’t made a noticeable
 3   difference to her. Mot. 21. But Microsoft offers a portfolio of customized diversity and
 4   inclusion training courses for all levels of employees and leaders. MSFT642357-94; Dhillon
 5   Dec. ¶8. In the face of these initiatives, neither one anonymous criticism of the quality of one
 6   training session nor Muenchow’s view of the training’s impact rises to the level of “significant
 7   proof” of an intentional companywide discriminatory policy requiring classwide treatment.
 8           Other Evidence. The only other “evidence” Plaintiffs offer regarding senior executive
 9   involvement in discrimination involves communications emphasizing the company’s continued
10   focus on gender issues. Mot. 16-18. But Plaintiffs disregard that the very communications on
11   which they rely arose out of Microsoft hiring a consultant to “shed new light, consider new
12   perspectives, and leave [the company] with actionable pathways forward for positively impacting
13   the complex challenge of gender inclusion and diversity in the technical field.” MSFT677331 at
14   3 (emphasis omitted); see also id. at 8 (noting that women “expressed their thanks” and thought
15   this demonstrated “Microsoft’s commitment to enhance the efforts to advance and retain
16   women”). Plaintiffs likewise misrepresent the other documents they cite, which reflect
17   Microsoft’s commitment to creating a diverse and inclusive workplace. See, e.g., MSFT17963
18   (Microsoft CEO, stating “I am personally fully committed to these [D&I] efforts [at the core of
19   our culture and company] and so is the rest of the Senior Leadership Team.”); MSFT22539-40
20   (telling employees, “[I]f you think there is an issue – Raise It. . . . [I]f you believe you know an
21   example of [a] pay gap, please bring it up.”). Microsoft should not be punished, as Plaintiffs
22   propose, for being proactive in creating a more diverse and inclusive workplace.
23           Plaintiffs cite only one post-Dukes case—Ellis II—in which a court found “significant
24   proof” of a general policy of intentional discrimination. But there, “the CEO and other top
25   executives” were directly involved in the employment decisions at issue and “employ[ed]
26   stereotyped thinking regarding women’s roles in society.” Ellis II, 285 F.R.D. at 520. Further,
27   the company’s culture “foster[ed] and reinforce[d] stereotyped thinking, which allow[ed] gender

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 1   bias to infuse the promotion process from the top down.” Id. Plaintiffs present no such evidence
 2   at Microsoft. Rather, the evidence shows Microsoft—mindful of complaints raised within its
 3   walls—is self-reflective and forward-thinking on gender issues.
 4   II.     Plaintiffs Do Not Meet The Requirements of Rule 23(a)(3)-(4)
 5           A.      Plaintiffs Have Not Demonstrated Typicality
 6           “The purpose of the typicality requirement is to assure that the interest of the named
 7   representative aligns with the interests of the class.” Hanon v. Dataproducts Corp., 976 F.2d
 8   497, 508 (9th Cir. 1992). Its premise is simply stated: “‘as goes the claim of the named plaintiff,
 9   so go the claims of the class.’ Where the premise does not hold true, class treatment is
10   inappropriate.” O’Connor v. Boeing N. Am., Inc., 197 F.R.D. 404, 412 (C.D. Cal. 2000) (citing
11   Sprague v. General Motors Corp., 133 F.3d 388, 399 (6th Cir. 1998) (en banc)). For that reason,
12   a plaintiff who “suffered no injury as a result of the alleged discriminatory practices” is “not
13   eligible to represent a class of persons who did allegedly suffer injury.” E. Texas Motor Freight
14   Sys. Inc. v. Rodriguez, 431 U.S. 395, 403-04 (1977).
15           Moussouris’s and Muenchow’s pay and promotion claims are not typical because their
16   experiences relate only to their particular male and female managers. And “the invalidity of one
17   manager’s use of discretion will do nothing to demonstrate the invalidity of another’s.” Dukes,
18   564 U.S. at 355-56; see also Bushbeck v. Chicago Title Ins. Co., 2011 WL 13100725, at *8
19   (W.D. Wash. Aug. 15, 2011) (Robart, J.) (named plaintiffs subject to one region’s policies not
20   typical of class members subject to another region’s policies). Dr. Farber’s own statistics show
21   Plaintiffs do not “possess the same interest and suffer the same injury” as the class. Rodriguez,
22   431 U.S. at 403 (citation omitted). In terms of pay, neither earned significantly less than Dr.
23   Farber’s model predicts she should have and Moussouris earned more (even more than her male
24   manager). Saad. Rpt. ¶¶39-42, Appx. 1 at p.1 (Farber’s model predicts that in                 Moussouris
25   should have been earning                but she was actually making              per year—and in
26                    instead of her actual           ). As for promotions, Dr. Farber’s model did not
27   predict that either Muenchow or Moussouris should have been promoted during the class period,

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 1   yet Muenchow did receive a promotion during that time.31 Id. ¶¶48-49; Appx. 1 at p.2. Because
 2   Plaintiffs are among the women not harmed according to their own statistics, they lack the same
 3   interest as those class members they contend were harmed by pay and promotion decisions.
 4            Moreover, a named plaintiff cannot satisfy typicality if her “unique background and
 5   factual situation require h[er] to prepare to meet defenses that are not typical of the defenses
 6   which may be raised against other members of the proposed class.” Hanon, 976 F.2d at 508;
 7   accord Fosmire v. Progressive Max Ins. Co., 277 F.R.D. 625, 633 (W.D. Wash. 2011) (Robart,
 8   J.). For example, in Hartman v. United Bank Card Inc., 2012 WL 4758052, at *13 (W.D. Wash.
 9   Oct. 4, 2012) (Robart, J.), plaintiffs were not typical because finding liability “require[d]
10   individualized evidence and analysis.” Some class members answered robocalls; others had the
11   calls go to voicemail; some answered in Washington; others answered out of state. Id. Similar
12   individualized defenses with individualized evidence and analyses are necessary here.
13            Moussouris. Microsoft has specific “legitimate, nondiscriminatory reason[s]” for
14   Moussouris’s pay and promotion decisions. Vasquez v. Cty. of L.A., 349 F.3d 634, 640 (9th Cir.
15   2003). Plaintiffs admit Microsoft can defeat liability for any class member by showing that her
16   manager’s pay or promotion decision was made “for lawful reasons.” Mot. 30 (disparate
17   impact); Mot. 31 (disparate treatment). Moussouris’s reviews show her difficulty collaborating
18   with others. Her manager recommended she “seek training that will better enable [her] to
19   manage differences in opinion” explaining that “[w]inning is not always about getting your idea
20   across the finish line 100% intact.” MSFT29682; MSFT29680 (a “struggle[] that has continued
21   in this period is around creating the conditions for successful collaboration with internal partner
22   teams”); id. (“[Y]ou actually become hostile towards them if their opinion is different than your
23   own.”); see also MSFT29691 (“those around [Moussouris] were, at times, negatively impacted
24   by” her “personal issues”). Moussouris’s EEOC file corroborates Microsoft’s assessment,
25
     31
26     Six of Plaintiffs nine declarants were paid more than predicted by Plaintiffs’ model. Saad Rpt. ¶43, Appx. 1 at p.1
     As one example, Dove was paid approximately               in 2013 when Dr. Farber expects her to make closer to
27             . Id. For promotions, only one declarant was not promoted when Dr. Farber’s model expects her to have
     been; instead, she was promoted the following year. Id. at ¶48, Appx. 1 at p.2

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 1   revealing the agency intended to dismiss her charge for lack of evidence—at least until her
 2   lawyer intervened and persuaded the agency to instead issue a right to sue letter. P007578.
 3           Muenchow. Microsoft had performance reasons for Muenchow’s pay and promotion
 4   decisions, too. Reviews from managers (men and women) reported Muenchow would go “dark”
 5   leaving her “status on work unknown.” MSFT318. She was told that “[i]n a central role that’s
 6   all about informing and coordinating it’s important to be consistent in your communication so
 7   others can depend on getting information from you in a timely manner.” P809; see also id.
 8   (“[Y]our communication to Test Managers was less regular than it needed to be this year.”);
 9   P865 (“[C]ommunicating this information in an organized and reliable way has been an issue I
10   have witnessed.”); P872 (improving “outward communications” would provide “a clearer path to
11   the next level.”). Muenchow recognized that she struggled with her “ability to focus.” P809. A
12   finder of fact could easily find in Microsoft’s favor on Moussouris’s and Muenchow’s individual
13   claims for reasons that would not apply generally to the class. That defeats typicality.
14           B.      Plaintiffs Cannot Demonstrate Adequacy
15           Rule 23(a)(4) requires that “named parties ‘will fairly and adequately protect the interests
16   of the class.’” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 625 (1997). Courts must
17   determine whether there exist “any conflicts of interest with other class members” and whether
18   “named plaintiffs and their counsel [will] prosecute the action vigorously on behalf of the class.”
19   Ellis, 657 F.3d at 985. The adequacy requirement demands shared interests among the
20   representatives and the class, not just a promise to advocate for the class. Id.
21           Moussouris has an obvious conflict: she, like thousands of putative class members,
22   actively participated as a manager in the Calibration Process, evaluating the very employees she
23   now seeks to represent as alleged victims of that process. But courts do not allow classes
24   infected by such obvious internal division—as another judge of this Court held when Plaintiffs’
25   counsel tried to bring a similar Title VII action against Microsoft in 2001. In Donaldson, “[t]wo
26   of the three named plaintiffs … [were] former Microsoft supervisors.” 205 F.R.D. at 568. “As
27   such, they were obligated to implement the very supervisory system which th[e] litigation

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 1   challenge[d].” Id. Accordingly, the Court found two conflicts: “the named plaintiffs’ interests
 2   [are] in potential conflict with those of the putative class” and the “class members are …
 3   potentially in conflict with one another.” Id. Other cases reach the same conclusion, refusing to
 4   certify classes consisting of supervisors and non-supervisors. Randall v. Rolls-Royce Corp., 637
 5   F.3d 818, 824 (7th Cir. 2011) (representatives inadequate because “plaintiffs have authority
 6   within the company with regard to the compensation of some, and maybe many, of the unnamed
 7   class members”); Wagner v. Taylor, 836 F.2d 578, 595 (D.C. Cir. 1987) (“Although each group
 8   [i.e., supervisors and non-supervisors] shares the interest in freedom from discrimination,
 9   potential conflicts may and do arise within a class including both.”).32 Conversely, Muenchow,
10   as a non-supervisor, cannot adequately represent the interests of supervisory-class members.
11            Plaintiffs admit the problem, conceding that an employee’s “participat[ion] in decision
12   making within the challenged process” would “preclude [her] inclusion in the Class.” Mot. 9.
13   They claim to have avoided the issue by excluding “women at Levels 68 (‘partner’) and above.”
14   Id. In fact, managers at levels below 68 participate extensively in calibration, and it is the direct
15   managers who have the most influence, not those far removed from the employee. Calla Dec.
16   ¶¶7-10 (promoted men and women; evaluates employee performance; participates in
17   calibration); Watterson Dec. ¶¶3, 12-16 (similar); Helf Dec. ¶7 (all managers invited and
18   typically attended calibration meetings); Shepherd Dec. ¶¶12-13; Ku Dec. ¶¶9, 13; DeCaprio
19   Dec. ¶16. Thus, the proposed class includes thousands of female managers who participated
20   actively in the challenged Calibration Process—and through that participation contributed to the
21   decisions at issue.33 Saad Rpt. ¶17 (2,126 class member managers; 1,331 leads).
22
     32
        See also, e.g., King v. Enter. Rent-A-Car Co., 231 F.R.D. 255, 265 (E.D. Mich. 2004); Bacon v. Honda of Am.
23   Mfg., Inc., 205 F.R.D. 466, 481 (S.D. Ohio 2001), aff’d, 370 F.3d 565 (6th Cir. 2004); Appleton v Deloitte & Touche
     L.L.P., 168 F.R.D. 221, 233 (M.D. Tenn. 1996); Gonzalez v. Brady, 136 F.R.D. 329, 333 n.12 (D.D.C. 1991); Grant
24   v. Morgan Guar. Tr. Co. of N.Y., 548 F. Supp. 1189, 1193 (S.D.N.Y. 1982); Graves v. State of Colo., 31 Fed. R.
     Serv. 2d 1480 (D. Colo. 1980); Arnett v. Am. Nat’l Red Cross, 78 F.R.D. 73, 76 (D.D.C. 1978).
25   33
        While the mere potential for conflict is sufficient to deny certification, see, e.g., Graves, 31 Fed. R. Serv. 2d at
     1480, the tension here is identifiable because class members, including Moussouris and several declarants, played an
26   active role in calibration sessions for women. Saad Rpt. ¶18. (Moussouris supervised putative class members);
     Alberts Tr. 53:7-17, 55:5-10 (participated in six calibration meetings involving class member-direct reports); Dove
27   Tr. 36:8-37:22, 129:16-131:9 (provided performance evaluation reviews on an annual basis to between five and ten


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 1            In practical terms, this means thousands of managers within the class have a vested
 2   interest in defending the integrity of their input (as they have testified),34 as well as their
 3   compliance with Microsoft policies requiring them to represent employees in calibration “in a
 4   knowledgeable and unbiased way.”35 MSFT2283. But other class members allege
 5   discrimination at the hands of the manager class members. This tension necessarily means
 6   proposed class counsel cannot “prosecute the action vigorously on behalf of the [entire] class,”
 7   as they cannot zealously represent both the alleged perpetrators and their victims. Ellis, 657 F.3d
 8   at 985 (citation omitted); see also Fed. R. Civ. P. 23(g); Kayes v. Pac. Lumber Co., 51 F.3d
 9   1449, 1465 (9th Cir. 1995) (“The responsibility of class counsel to absent class members whose
10   control over their attorneys is limited does not permit even the appearance of divided loyalties of
11   counsel.”) (citation omitted); accord Fiandaca v. Cunningham, 827 F.2d 825, 829 (1st Cir.
12   1987); Vuyanich v. Republic Nat’l Bank of Dallas, 82 F.R.D. 420, 434 (N.D. Tex. 1979).
13            These conflicts go to the heart of Plaintiffs’ case. They cannot prevail without showing
14   bias across the company, which will require impugning the input of thousands of class members
15   who participated in calibration. Plaintiffs cannot solve the problem by seeking a decision on
16   liability first, followed by individual claims at mini-trials because the inherent conflict “impacts
17   upon the trier of fact’s finding of liability.” King, 231 F.R.D. at 265. Plaintiffs’ allegations
18   “arise directly from the evaluation system at Microsoft,” in which women actively participated as
19   evaluating managers; the Court should not certify a class that “include[s] both those who
20   implemented the ratings system and those who allegedly suffered under it.”36 Donaldson, 205
21
     direct reports, including women); Sowinska Tr. 55:3-59:12, 73:18-22 (attended calibration meetings; gave feedback
22   on dozens of direct reports and peers of both genders); see also Saad Rpt. ¶18 (Muenchow supervised by class
     member-managers); Dove Tr. 50:15-25 (attesting to her belief that each manager “discriminated against [her]
23   because of gender” in pay or promotion).
     34
        See, e.g., Alberts Tr. 70:11-24 (as a calibration participant, she always provided truthful feedback and did not give
24   “men more positive feedback than ... women”); Dove Tr. 45:8-17 (same); Sowinska Tr. 59:5-19 (same).
     35
25      Even non-managerial class members who did not participate directly in calibration meetings had input (as
     colleagues) into reviews affecting promotion and compensation decisions. MSFT1595; Vaughn Tr. 76:25-78:18
26   (provided feedback during Connect process); Warren Tr. 110:2-111:19 (provided performance reviews for between
     16 and 25 women); Boeh Tr. 53:11-54:7 (completed several performance evaluation reviews).
     36
27      In addition, as a former Microsoft employee, Moussouris is inadequate to pursue equitable relief. Ellis, 657 F.3d
     at 986 (“Plaintiffs not employed by Costco throughout this case do not have standing to seek injunctive relief”).

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 1   F.R.D. at 568.
 2   III.    Plaintiffs Do Not Meet The Requirements Of Rule 23(b)(3)
 3           Even if Plaintiffs could prove common issues, individual issues will predominate and
 4   class resolution is not superior. Fed. R. Civ. P. 23(b)(3).
 5           A.       Plaintiffs Have Not Shown Predominance
 6           Predominance is a “far more demanding” requirement than commonality. Amchem, 521
 7   U.S. at 624. A plaintiff can establish predominance only if the “common, aggregation-enabling,
 8   issues in the case are more prevalent or important than the non-common, aggregation-defeating,
 9   individual issues.” Tyson Foods, 136 S. Ct. at 1045 (citation omitted). “Predominance requires
10   that the common issues be both numerically and qualitatively substantial in relation to the issues
11   peculiar to individual class members.” In re Dynamic Random Access Memory (DRAM)
12   Antitrust Litig., 2006 WL 1530166, at *6 (N.D. Cal. June 5, 2006) (internal quotation omitted).
13           Liability. Plaintiffs say three common liability questions will predominate at trial:
14   whether the Calibration Process causes a disparate impact on women, whether there is a business
15   need for it, and if there’s an alternative. Beyond those, they argue, only “individual damages
16   issues” will remain. Mot. 38. That misstates the law.37 Plaintiffs simply label “eligibility for
17   relief” as part of “damages,” even though that is just liability by another name. Whether
18   someone has a discrimination claim requires an individualized determination as to why she did
19   not receive a particular raise or promotion. See Amchem, 521 U.S. at 623-24. Before Plaintiffs
20   can establish liability as to any particular class member, the parties must litigate issues requiring
21   highly individualized proof, including whether: (1) the employee was adversely affected in pay
22   or promotion relative to male peers, which statistics cannot determine; (2) deficient performance
23   or discrimination caused any adverse effect; (3) the employee declined advancement
24   opportunities; (4) the employee’s business unit performed poorly; (5) business need for
25
     37
       Plaintiffs’ argument is also improperly premised on the notion that predominance can still be satisfied despite
26   needing separate “Teamsters hearings” to determine liability. But Teamsters was initiated by EEOC, 431 U.S. at
     328, and Rule 23 does not apply in that context. Gen. Tel. Co. of the Nw., Inc. v. EEOC, 446 U.S. 318, 323 n.5, 324
27   (1980). Teamsters says nothing about the propriety of individual hearings where Rule 23’s restrictions, including
     predominance, do apply.

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 1   promotion existed; (6) a promotion was available; and (7) the employee failed to exhaust
 2   administrative remedies (depending on applicable law). See, e.g., Grosz v. Boeing Co., 2003 WL
 3   22971025, at *6-7 (C.D. Cal. Nov. 7, 2003) (liability analysis requires individualized inquiry as
 4   to employee performance), aff’d, 136 F. App’x 960 (9th Cir. 2005); see also Hartman, 2012 WL
 5   4758052, at *12 (certification denied where liability would turn on individualized defenses);
 6   Puffer v. Allstate Ins. Co., 255 F.R.D. 450, 461 (N.D. Ill. 2009), aff’d, 675 F.3d 709 (7th Cir.
 7   2012); Rhodes v. Cracker Barrel Old Country Store, Inc., 213 F.R.D. 619, 676 (N.D. Ga. 2003).
 8           Plaintiffs admit the need for individual hearings for each of the 8,600+ class members to
 9   show whether they “suffered an adverse employment action and therefore was a potential victim
10   of the proved discrimination.” Mot. 30; Mot. 31 (disparate treatment), Mot. 43 (need individual
11   hearings to determine eligibility for relief and damages). Although Plaintiffs couch this
12   concession as merely part of a trial plan, it shows the very defect that precluded certification in
13   Dukes. This Court dealt with a similar issue in Hartman, where plaintiffs tried to certify a class
14   of customers who received robocalls allegedly in violation of a Washington statute. 2012 WL
15   4758052, at *4. For any particular call, the defendant would not have been liable if a live person
16   did not pick up or if the phone was not in Washington. Id. *12. Rule 23 was not met because
17   the court might have to “hold individualized hearings” as “to each of the calls.” Id. *14-15.
18           The same is true here. Determining the reasons for pay and promotion decisions—i.e.,
19   why was I disfavored—requires an intensive, fact-specific inquiry into each class member’s
20   individual circumstances. Take Olga Hutson, for example, one of Plaintiffs’ nine declarants.
21   She worked on a small team in Cambridge, Massachusetts. Hutson Dec. ¶3; Hutson Tr. 48:15-
22   25. She was never promoted from an L64 role, even while she “observed men receiving
23   promotions to Level 65” roles, which she attributes to discrimination. Hutson Dec. ¶5. But
24   another woman on her team who started at L64 at about the same time did get promoted to L65.
25   Silvestri Dec. ¶5. Hutson also contends she “complained to HR,” and “despite telling [her] that
26   my manager acted inappropriately, ERIT found no violation.” Hutson Dec. ¶6. But Hutson’s
27   complaint related to a hearing disability, not gender discrimination. Hutson Tr. 116:22-117:7.

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 1   She was not promoted, her reviews explain, because she was “not meeting expectations as a
 2   Senior PM: relative to [her] peers, technical depth and decision-making.” MSFT884743. For
 3   example, in the area of “specs” (designs for new software features), she “need[ed] to be faster,”
 4   needed more “[c]areful review of [her] work,” and needed a “strong[er] understanding of the
 5   definitions, concepts and ideas” in the spec. MSFT884744.
 6               Thus, answering the question why Hutson was disfavored, i.e., resolving liability issues
 7   as to her, will require much more than a determination as to the Calibration Process; it will also
 8   require an examination of her individual circumstances. Each of Plaintiffs’ declarants has her
 9   own unique story, as does every other putative class member. Appel Dec. ¶6 (happy as
10   individual contributor; managers respect decision to remain at that level); Shariff Dec. ¶¶8, 9
11   (believes pay and promotions were proper); Freshour Dec. ¶5 (rejoined Microsoft for work-life
12   balance).
13               Causation. Under Comcast Corp. v. Behrend, 569 U.S. 27 (2013), Plaintiffs must have a
14   classwide method to show damages were caused by the same actions that give rise to liability.
15   Absent such showing, “plaintiffs cannot establish predominance.” Vaquero v. Ashley Furniture
16   Indus., Inc., 824 F.3d 1150, 1154 (9th Cir. 2016) (wage and hour class action) (citing Pulaski &
17   Middleman, LLC v. Google, Inc., 802 F.3d 979, 987-88 (9th Cir. 2015)).38
18               Plaintiffs have not even tried to explain how they could present classwide proof to show
19   that calibration meetings adversely affected each class member. Their experts, in fact, disavow
20   finding any unifying cause. Supra at 20-21, 26. And so causation (or lack thereof) will
21   necessarily vary depending on the unique circumstances of each individual and her manager.
22   Some class members allege causes other than calibration meetings, such as discrimination during
23   the hiring process, see Smith Tr. 96:3-97:16; Vaughn Tr. 120:16-123:15; Warren Tr. 82:24-
24   88:17, or discrimination by peers or direct managers before—not during—calibration meetings.
25   Smith Dec. ¶7. Some claim adverse employment decisions not based on gender but alleged
26   disability or retaliation. Hutson Tr. 117:2-7; Underwood Tr. 236:10-15, 238:17-239:24. Most
27   38
          Plaintiffs rely on Ellis II for this issue but that district court decision preceded Vaquero. Mot. 38-39.

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 1   importantly, Plaintiffs’ own statistics show that the overwhelming majority of the class was not
 2   injured by the Calibration Process. Supra at 24-28. In short, whether any injury was caused by
 3   an unlawful employment practice—i.e., the supposedly discriminatory discretion wielded during
 4   calibration—will require a highly individualized inquiry.
 5            Where “[t]he functional equivalent of a full-blown trial on … causation for each putative
 6   class member would be required to determine to which individuals [the company] is liable,” Rule
 7   23(b)(3) is not satisfied. Lienhart v. Dryvit Sys., Inc., 255 F.3d 138, 149 (4th Cir. 2001).
 8            Damages. Plaintiffs admit the need for individualized damages determinations but claim
 9   “individualized damages issues do not defeat predominance.” Mot. 40. However categorical
10   that rule may have been, the Ninth Circuit has retreated since Comcast: “Uncertainty regarding
11   class members’ damages does not prevent certification of a class as long as a valid method has
12   been proposed for calculating those damages.” Lambert v. Nutraceutical Corp., 870 F.3d 1170,
13   1182 (9th Cir. 2017) (emphasis added). Plaintiffs offer no “valid method” for calculating
14   damages for the simple reason that such determinations would be highly individual. Even if a
15   class member could prevail on liability, she will have to show when she suffered discrimination;
16   whether that discrimination was within the limitations period and affected her pay, promotion, or
17   both; what her salary was; what it should have been; and how her pay was affected going
18   forward.39 By contrast, Plaintiffs cite cases susceptible to formulaic resolution. Gulino v. Bd. of
19   Educ. of City Sch. Dist. of City of New York, 2013 WL 4647190, at *7 (S.D.N.Y. Aug. 29, 2013)
20   (using salary “tables listed in collective bargaining agreement” to calculate backpay); Easterling
21   v. Conn. Dep’t of Corr., 278 F.R.D. 41, 48 (D. Conn. 2011) (disparate impact claims “typically
22   dominated by individualized proof,” but relying on exception in hiring cases that allows for
23   class-wide calculation of backpay). And Rollins v. Traylor Bros., Inc. proves Microsoft’s point:
24   after reviewing the parties’ trial plans, Judge Coughenour decertified the class because “trial
25
     39
26     Plaintiffs’ own evidence illustrates why they have not proposed a formulaic approach: Plaintiffs and the
     declarants’ actual pay varies wildly from (and at times statistically significantly exceeds) what Dr. Farber’s model
27   predicts. Saad Rpt. ¶¶42-43, Appx. 1 at p.1. Clearly then, his model cannot accurately predict any alleged
     underpayment to any particular individual.

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 1   administration would be overwhelming” “given all of the individual issues that must be
 2   litigated.” 2016 WL 5942943, at *1 (W.D. Wash. May 3, 2016).
 3           B.       Plaintiffs Have Not Shown Superiority
 4           The superiority inquiry focuses on “efficiency” and “economy” elements so “cases
 5   allowed under subdivision (b)(3) are those that can be adjudicated most profitably on a
 6   representative basis.” Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1190 (9th Cir.),
 7   opinion amended on denial of reh’g, 273 F.3d 1266 (9th Cir. 2001); Haley v. Medtronic, Inc.,
 8   169 F.R.D. 643, 654 (C.D. Cal. 1996) (“unwise” and “unmanageable” to certify where liability
 9   and damage inquiries are highly individualized).
10           Class certification would not produce the required efficiencies here. Though little can be
11   gleaned from Plaintiffs’ skeletal trial plan, one point is clear: they recognize thousands of trials
12   would be needed to address liability and damages for each class member. Those would require
13   extensive, individualized discovery of documents and witnesses as to evaluations, feedback, and
14   annual budgets across teams to assess individual pay and promotion decisions. And, even as to
15   the same individual, the documents and witnesses will vary from year to year. Burying the point
16   in Plaintiffs’ “Stage Two: Damages” discussion does not make the process any less burdensome
17   or inefficient. Mot. 43 (acknowledging Court will have to resolve “issues around individual
18   class members’ eligibility for relief” and “amount of relief”).
19           On the other hand, members of this putative class who feel aggrieved can pursue their
20   claims individually.40 Declarant Debra Dove, for example, was making more than                                  per
21   year before her departure from Microsoft. Saad Rpt. ¶43, Appx. 1 p.1. Unlike Beck v. Boeing
22   Co., 203 F.R.D. 459, 466-67 (W.D. Wash. 2001) (cited by Plaintiffs), class members here are not
23   “of limited means,” and the magnitude of their claims depends on their substantial pay. Where a
24   class consists of individuals whose income is near or above the top 10% in the country, a court
25   has no reason to deprive them of control over their own claims—particularly when attorney’s
26
     40
27     Plaintiffs also claim there is a benefit to allowing class members to proceed anonymously; however, as they
     acknowledge, each individual must eventually come forward for individual hearings. Mot. 43.

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 1   fees are recoverable. Cf. Amchem, 521 U.S. at 617 (Rule 23(b)(3) was designed to vindicate
 2   rights of those who on their own lack “effective strength to bring their opponents into court”).
 3   IV.     Plaintiffs Do Not Meet The Requirements Of Rule 23(b)(2)
 4           Plaintiffs seek a declaration that “Microsoft’s existing Calibration process is unlawful”
 5   and “an order enjoining Microsoft from using it to make pay and promotion decisions in the
 6   future.” Mot. 37. But they fail to satisfy Rule 23(b)(2)’s requirements: their proposed class is
 7   not cohesive, and their requested injunction is too vague, addresses a defunct practice, and would
 8   not be appropriate as to the entire class.
 9           A.      Plaintiffs’ Proposed Rule 23(b)(2) Class Is Not Cohesive
10           Rule 23(b)(2) “does not authorize class certification when each individual class member
11   would be entitled to a different injunction or declaratory judgment against the defendant.”
12   Dukes, 564 U.S. at 360. Accordingly, “class claims under Rule 23(b)(2) must be ‘cohesive,’”
13   Fosmire, 277 F.R.D. at 635 (Robart, J.); Barraza v. C. R. Bard Inc., 2017 WL 3976720, at *15
14   (D. Ariz. Sept. 11, 2017) (cohesiveness “widely applied by other circuits and by district courts
15   within the Ninth Circuit.”), and they may not “be overrun with individual issues.” Fosmire, 277
16   F.R.D. at 635 (quoting Sweet v. Pfizer, 232 F.R.D. 360, 374 (C.D. Cal. 2005)).
17           Fosmire illustrates a class lacking the requisite cohesiveness. Plaintiff alleged that
18   Progressive’s standard-form automobile policies improperly failed to cover a car’s diminished
19   value after repairs. 277 F.R.D. at 627. But there were “at least 17 forms” of the relevant policies
20   across potentially 24 states. Id. 634. Evaluating each claim would have required an analysis of
21   “the specific contract language issued by Progressive in each of these states.” Id. 634-35. This
22   Court concluded that because the “individual issues … overrun the common issues, the
23   cohesiveness requirement” was “not met.” Id. 636; see also Herskowitz v. Apple, Inc., 301
24   F.R.D. 460, 481 (N.D. Cal. 2014) (nature of injunction “would differ depending on the specific
25   facts giving rise to individual customer’s claim” because Apple did not invariably enforce its
26   refund policy); Barraza, 2017 WL 3976720, at *16 (Rule 23(b)(2) class lacked cohesiveness
27   where defendants “ha[d] not engaged in uniform action toward all class members”).

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 1           Here, there is not one “Calibration Process”—just as there was not one insurance policy
 2   form in Fosmire or one refund policy in Herskowitz. Rather, Plaintiffs’ claims rest on the
 3   premise that there are (at least) hundreds of calibration processes, with variations depending on
 4   how each team handled decisions. Plaintiffs’ expert admits as much: “[I]f Employee A were in
 5   Calibration Group/People Discussion Group 1 and Employee B who holds the same role happens
 6   to be in Group 2, the types of information on each employee considered in the meeting, where
 7   compensation level and promotion decisions are discussed, might differ.” Ryan Rpt. ¶36.
 8           Thus, “each individual class member would be entitled to a different injunction,” based
 9   on how her specific calibration meeting(s) operated. Dukes, 564 U.S. at 360. The class is
10   overrun with individual issues and not sufficiently cohesive for Rule 23(b)(2) certification.
11           B.      Plaintiffs’ Proposed Injunction Is Too General To Satisfy Rule 65(d) And
                     Would Address A Now Defunct Process
12
             Under Rule 65(d), an injunction must “state its terms specifically” and “describe in
13
     reasonable detail…the act or acts restrained or required.” This is to “prevent uncertainty and
14
     confusion on the part of those faced with injunctive orders” and avoid a possible “contempt
15
     citation on a decree too vague to be understood.” Schmidt v. Lessard, 414 U.S. 473, 476 (1974).
16
     At the class certification phase, Plaintiffs must describe the relief sought in “reasonably
17
     particular detail” so the Court can envision an injunction that would satisfy Rule 65(d)’s
18
     requirements. Shook v. Bd. of Cty. Comm’rs of Cty. of El Paso, 543 F.3d 597, 605 & n.4 (10th
19
     Cir. 2008); see also Kartman v. State Farm Mut. Auto. Ins. Co., 634 F.3d 883, 893 (7th Cir.
20
     2011) (declining to certify class where proposed injunction was “far too general to satisfy Rule
21
     65(d)”); Martinez v. Brown, 2011 WL 1130458, at *13-15 (S.D. Cal. Mar. 25, 2011) (similar).
22
             Here, Plaintiffs seek an order “enjoining Microsoft from using [calibration] to make pay
23
     and promotion decisions in the future.” Mot. 37. Given Plaintiffs’ description of “calibration”
24
     as meetings where “managers compare employees within a peer group,” Mot. 5, that injunction
25
     is at a “stratospheric level of abstraction.” Shook, 543 F.3d at 604. If Microsoft gives one
26
     employee a larger bonus than another due to better performance, would that be enjoined? Can
27

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 1   Microsoft never use any system where two employees’ performances are “compared” in a
 2   “meeting”? It would be meaningless to certify a class to purse such abstract relief. Further, the
 3   variability in the Calibration Process—the core of Plaintiffs’ claims—means a single injunction
 4   to forbid “calibration” would be pointless because the Calibration Process varies among teams.
 5            Even if an injunction prohibiting calibration meetings (as distinct from people
 6   discussions) were feasible, Microsoft ended them in 2013—and courts will not certify Rule
 7   23(b)(2) classes seeking an injunction against ceased conduct. See Arabian v. Sony Elecs., Inc.,
 8   2007 WL 627977, at *8 (S.D. Cal. Feb. 22, 2007); MAI Sys. Corp. v. Peak Computer, Inc., 991
 9   F.2d 511, 520 (9th Cir. 1993) (requiring “threat of continuing violations”). Plaintiffs’ expert and
10   declarants concede people discussions have no formal structure for peer comparisons (the key
11   component of Plaintiffs’ definition of a calibration meeting) and the two processes feel “very
12   different.” Supra at 20; Underwood Tr. 85:25-87:11. A Rule 23(b)(2) class is improper.
13            C.       Injunctive Relief Is Inappropriate For The Class As A Whole
14            Rule 23(b)(2) also requires injunctive relief to be appropriate for the class as a whole.
15   Certification is therefore inappropriate when a large percentage of the class lacks standing to
16   pursue an injunction. Dukes, 564 U.S. at 364 (criticizing Rule 23(b)(2) certification where many
17   members had no claim for injunctive relief); see also Schulken v. Wash. Mut. Bank, 2012 WL
18   28099, at *7 (N.D. Cal. Jan. 5, 2012) (denying (b)(2) certification because some class members
19   no longer had challenged credit lines); Gonzales v. Comcast Corp., 2012 WL 10621, at *16
20   (E.D. Cal. Jan. 3, 2012) (same where class was mostly former customers). Here, 33% of the
21   class consists of former employees who would be unaffected by an injunction and have no
22   standing to seek one.41 Saad Rpt. ¶¶16-17; Walsh v. Nevada Dep’t of Human Res., 471 F.3d
23   1033, 1037 (9th Cir. 2006). Injunctive relief is therefore inappropriate for the whole class.42
24   41
        Muenchow is the only named Plaintiff that still works at Microsoft. If she is deemed atypical, an inadequate
25   representative, or denied relief on summary judgment, then no class representative has standing to seek injunctive
     relief under Rule 23(b)(2). Ellis, 657 F.3d at 978 (“Plaintiffs must show standing with respect to each form of relief
26   sought”); Amaro v. Gerawan Farming, Inc., 2016 WL 3924400, at *2 n.3 (E.D. Cal. May 20, 2016).
     42
        An injunction would also be inappropriate for all current Microsoft employees given that some benefit from
27   calibration meetings/people discussions. See Schulken, 2012 WL 28099, at *6 (denial of Rule 23(b)(2) certification
     proper absent uniform interest in injunction); Saad Rpt. ¶80-87.

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 1            Further, even as to current employees, it would be unworkable to enjoin an evaluation
 2   method as to women in particular professions and within nine specific stock levels—a small
 3   segment of Microsoft’s employees—while allowing that same process to continue as to the
 4   overwhelming number of employees outside the class. And enjoining Microsoft’s employment
 5   practices company-wide based on a class representing a small segment of employees would be
 6   massively overbroad, especially because this class has no standing to seek an injunction on
 7   behalf of the other 95% of Microsoft’s U.S. workforce. See, e.g., Mamo v. BP P.L.C., 2006 WL
 8   269056, at *3 (E.D. Va. Jan. 30, 2006) (company-wide training “is clearly overbroad” where
 9   allegation did not relate to “all of the employees”).43
10   V.       Plaintiffs Have Not Satisfied The Requirements Of Rule 23(c)(4)
11            Plaintiffs offer only a passing reference to their request for a Rule 23(c)(4) issue class and
12   no supporting legal argument. Even under the most lenient preservation standards, the issue has
13   not been sufficiently raised and the Court should decline to address it.44 Intellicheck Mobilisa,
14   Inc. v. Wizz Sys., LLC, 173 F. Supp. 3d 1085, 1108 (W.D. Wash. 2016) (Robart, J.) (two sentence
15   argument “inadequately briefed” and “not properly before the court”); United States v. Microsoft
16   Corp., 154 F. Supp. 3d 1134, 1140 n.4 (W.D. Wash. 2015) (same as to single sentence).
17                                                    CONCLUSION
18            This Court should deny Plaintiffs’ Motion for Class Certification.
19

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21   43
        A 23(b)(2) class is also inappropriate because the “primary relief sought by Plaintiffs is monetary, not injunctive”
     which is “clear from the pleadings, as well as from the effort and expert fees expended” which demonstrate “that the
22   central focus of this suit is monetary relief.” Lucas v. Breg, Inc., 212 F. Supp. 3d 950, 972 (S.D. Cal. 2016).
     44
        Moreover, it would be improper to use Rule 23(c)(4) as an end-run of Rule 23(b)(3). See, e.g., Castano v. Am.
23   Tobacco Co., 84 F.3d 734, 745 n.21 (5th Cir. 1996) (“district court cannot manufacture predominance through the
     nimble use of subdivision (c)(4). The proper interpretation of the interaction between subdivisions (b)(3) and (c)(4)
24   is that a cause of action, as a whole, must satisfy the predominance requirement of (b)(3) and that (c)(4) is a
     housekeeping rule that allows courts to sever the common issues for a class trial.”) (citing In re N.D.Cal. Dalkon
25   Shield IUD Prods. Liability Litig., 693 F.2d 847, 856 (9th Cir. 1982)). Further, an issues class is inappropriate
     because there are no common issues. Supra at 15-37. Even if a liability class were permitted, numerous issues of
26   individualized liability, causation, and damages remain. In these circumstances, “[t]he few issues that might be tried
     on a class basis …, balanced against issues that must be tried individually, indicate that the time saved by a class
27   action may be relatively insignificant.” Dalkon Shield, 693 F.2d at 856, abrogated on other grounds by Valentino v.
     Carter-Wallace, Inc., 97 F.3d 1227 (9th Cir. 1996).

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